             Case 23-01322-eg                         Doc 14            Filed 06/01/23 Entered 06/01/23 09:16:30                                                      Desc Main
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 Fill in this information to identify your case:

 Debtor 1
                     Jonathan Mark Flanary
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of South Carolina District of __________
                                                                                                (State)
 Case number           23-01322
                     ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 739,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 214,461.60
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 953,461.60
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 363,784.50
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 60,709.60
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 1,262,712.19
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 1,687,206.29
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 9,423.47
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 7,205.34
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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                  Jonathan Flanary
                                                               Document     Page 2 of 82
                                                                                                                         23-01322
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        1,995.00
                                                                                                                                        $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                      6,622.64
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                     51,737.96
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                      7,573.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                               65,933.60
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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Fill in this information to identify your case and this filing:

                     Jonathan Mark Flanary
Debtor 1
                     First Name           Middle Name            Last Name

Debtor 2
(Spouse, if filing)    First Name           Middle Name            Last Name


United States Bankruptcy Court for the: District of South
Carolina
                                                                                                                                                       Check if this is
Case number 23-01322                                                                                                                                   an amended
(if know)
                                                                                                                                                       filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                       What is the property? Check all that apply
                                                                                                                       Do not deduct secured claims or exemptions. Put the
    1.1 1232 Kruger Ave.                                                 Single-family home                            amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                         Duplex or multi-unit building                 Creditors Who Have Claims Secured by Property:
                                                                         Condominium or cooperative                    Current value of the      Current value of the
                                                                         Manufactured or mobile home                   entire property?          portion you own?
            Charleston SC           29407
                                                                         Land                                          $ 389,000.00              $ 389,000.00
            City            State   ZIP Code
                                                                         Investment property
                                                                                                                       Describe the nature of your ownership
                                                                         Timeshare                                     interest (such as fee simple, tenancy by the
            Calhoun County                                               Other                                         entireties, or a life estate), if known.

            County                                                     Who has an interest in the property? Check      Fee simple
                                                                       one
                                                                             Debtor 1 only                                Check if this is community property
                                                                             Debtor 2 only
                                                                             Debtor 1 and Debtor 2 only
                                                                             At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       TMS#349-03-00-089 (The debtor purchased this home for $225,000.00 in 2006. The
                                                                       debtor is informed and believes if he were to sell this property he could receive
                                                                       approximately $389,000.00 based on the current housing market.) Tax Assessment
                                                                       Value $229,700.00




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                  First Name        Middle Name         Last Name
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                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.2 1609 Diddy Dr.                                                             Single-family home                                                           amount of any secured claims on Schedule D:
           Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
           Mount Pleasant SC                 29464
                                                                                   Land                                                                         $ 1,400,000.00                      $ 350,000.00
           City                   State      ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
           Charleston County                                                       Other                                                                        entireties, or a life estate), if known.

           County                                                                Who has an interest in the property? Check                                     Joint tenant
                                                                                 one
                                                                                       Debtor 1 only                                                                 Check if this is community property
                                                                                       Debtor 2 only
                                                                                       Debtor 1 and Debtor 2 only
                                                                                       At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:
                                                                                 TMS#560-12-00-145 (The debtor's father Edward R Flanary Jr. purchased this home
                                                                                 for $857,500.00 in October 2018. In December 2018 Edward Flanary Jr. executed a
                                                                                 quit-claim deed and transferred 25% interest to the debtor. The debtor is informed and
                                                                                 believes the property could be sold for approximately $1,400,000.00, based on the
                                                                                 current housing market.) Tax Assessment Value $857,000.00 (This property is subject
                                                                                 to a mortgage held by US Bank in Edward Flanary's name only. Total balance owed:
                                                                                 $556,108.48 )

  2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤           $ 739,000.00


 Part 2:      Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
           No
           Yes
    3.1 Make:Ford                                                                Who has an interest in the property? Check
                                                                                                                                                               Do not deduct secured claims or exemptions. Put the
                                                                                 one
           Model:F350                                                                                                                                          amount of any secured claims onSchedule D:
                                                                                      Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                            2022
                                                                                      Debtor 2 only
           Approximate mileage: 31,500                                                                                                                            Current value of the Current value of the
                                                                                      Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                      At least one of the debtors and another
             Condition:Good; VIN:                                                                                                                                 $ 56,325.00                           $ 56,325.00
             1FT8W3BN4NEC55305;                                                      Check if this is community property (see
                                                                                 instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

    4.1 Make:Sea Hunt                                                            Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                 one
           Model:Ultra 234                                                                                                                                      amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                            2021
                                                                                       Debtor 2 only
            Other information:                                                                                                                                  Current value of the                Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                               entire property?                    portion you own?
           Condition:Good; Included 2020
           Yamaha F250XC Outboard                                                      At least one of the debtors and another
                                                                                                                                                                $ 68,815.00                         $ 68,815.00
           Motor(Surrender);
                                                                                     Check if this is community property (see
                                                                                 instructions)




                                                                                                                                                                                                                  page 2 of 7
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     4.2 Make:Rhodan Marine Trolling Motor                                        Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one                                                                           amount of any secured claims onSchedule D:
           Model:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:
                                                                                       Debtor 2 only
              Other information:                                                                                                                                Current value of the                Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                               entire property?                    portion you own?
            Condition:Good;
                                                                                       At least one of the debtors and another
                                                                                                                                                                $ 3,500.00                          $ 3,500.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤             $ 128,640.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

         Kitchenware
         Stove
         Refrigerator
         Washing Machine
         Dryer
         Living Room Furniture                                                                                                                                                                          $ 2,175.00
         Bedroom Furniture
         Dining Room Furniture
         Lawn Furniture
         Lawn Mower
         Yard Tools
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

         3 Televisions ($250)
         MacBook Air ($200)
         HP Printer ($25)
                                                                                                                                                                                                        $ 1,425.00
         iPhone 14 ($600)
         iPad ($50)
         Apple Watch ($300)
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...

      Household Décor                                                                                                                                                                                   $ 50.00
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...

         Glock Handgun ($200)
                                                                                                                                                                                                        $ 1,200.00
         Benelli Ethos 12 Gauge Shotgun ($1000)


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  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

      Clothing and Personal Items                                                                                                                                                                    $ 800.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

      The debtor does not own any jewelry.                                                                                                                                                           $ 0.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 5,650.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $ 30.00
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     South State Bank Acct: #5887 HSA Family Account (This account currently has a zero balance.)                                     $ 0.00

        17.2. Checking account:                                     Chime Credit Builder Acct: # (This account currently has a zero balance.)                                                        $ 0.00

        17.3. Checking account:                                     Chase Bank Acct: #8519                                                                                                           $ 865.52

        17.4. Checking account:                                     Chime Checking Acct: #8327                                                                                                       $ 1,995.00

        17.5. Checking account:                                     Greenlight Account: For minor daughter ( This account currently has a zero balance.)                                             $ 0.00

        17.6. Checking account:                                     Greenlight Account: For minor son                                                                                                $ 11.71

        17.7. Other financial account:                              Venmo (This account currently has a balance of zero. The debtor only uses it to transfer money.)                                 $ 0.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
        Institution or issuer name:
        Bitcoin through Venmo                                                                                                                                                                        $ 32.60




                                                                                                                                                                                                                  page 4 of 7
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  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
       Name of entity:                                                                                              % of ownership:
       Sadies Fabic Empire, LLC (ASSETS: Inventory $23,959 Cash: $0 Bank Account: $4,957.24 Fixtures: $0            50         %      $ 49,122.69
       Equipment: $5,000 Website: $1.00 Goodwill: $20,000 Total Assets: $53,917.24 LIABILITIES: Accounts
       Payable: $1,078.10 Commissions Owed: $1,876.10 American Express: $1,840.35 Total Liabilities:
       $4,794.55)
       Woven Provisions, LLC (CLOSED) Mr. Flanary started this business in name only. It did not operate and had    50         %      $ 0.00
       no assets.
       Luxury Flooring, LLC (Assets: Inventory $0 Cash: $0 Bank Account: $8,347.22 Fixtures: $0 Forklift: $12,000   50         %      $ 18,081.60
       Goodwill: $10,000 Total Assets: $30,347.22 LIABILITIES: Accounts Payable: $0.00 South State Bank Forklift
       Loan: $12,265.62 Total Liabilities: $12,265.62)
       Aiden Fabrics, LLC (CLOSED 10/16/2022) (ASSETS: Inventory $20,000 Cash: $0 Bank Account: $8.52               50         %      $ 0.00
       Fixtures: $500 Equipment: $5,000 Website: $1.00 Goodwill: $5,000 Total Assets: $25,509.52 LIABILITIES:
       Accounts Payable: $203,160.89 On Deck Loan: $119,822.80 ACF Group Loan / Funding Metrics:
       $202,992.72 Credit Card Balances: $132,989.32 SBA Loan: $150,000 Intuit/ QuickBooks Payable: $102,000
       SC DEPT of Revenue Sales & Use Tax Owed: $63,747.10 Back Rent Owed to EF Enterprises: $92,000
       Loans Owed to Shareholder: $75,432.10 Total Liabilities: $1,142,144.93)
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.




                                                                                                                                                    page 5 of 7
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  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...

           No Anticipated 2022 Federal or State Tax Refunds. The debtor owes Federal and State tax                 Federal:           $ 0.00
           liabilities.                                                                                            State:             $ 0.00
                                                                                                                   Local:             $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
       Company name:                                                                            Beneficiary:                          Surrender or
                                                                                                                                      refund value:
       North Western Mutual Whole Life Insurance Policy, Policy no. 5336;                       Self- Jonathan Flanary                $ 2,130.28
       Effective Date: 10/11/2012 ( This policy insures the life of the debtor's
       minor daughter)
       North Western Mutual Term Life Insurance Policy, Policy no. 5336;                        Estranged Wife- Allison Flanary       $ 1.00
       Effective Date: 10/11/2012
       North Western Mutual Term Life Insurance Policy, Policy no. 2940;                        Self- Jonathan Flanary                $ 1.00
       Effective Date: 5/16/2016 ( This policy insures the life of the debtor's
       estranged wife Allison Flanary)
       North Western Mutual Whole Life Insurance Policy, Policy no. 6713;                       Estranged Wife- Allison Flanary       $ 3,138.16
       Effective Date: 10/20/2010; Cash Surrender Value
       North Western Mutual Term Life Insurance Policy, Policy no. 4961;                        Estranged Wife- Allison Flanary       $ 1.00
       Effective Date: 03/20/2005
       North Western Mutual Whole Life Insurance Policy, Policy no. 9211;                       Self- Jonathan Flanary                $ 2,378.04
       Effective Date: 04/08/2016; Cash Surrender Value (This policy insures the
       life of the debtor's minor son)
       North Western Mutual Whole Life Insurance Policy, Policy no. 9220;                       Self- Jonathan Flanary                $ 2,380.00
       Effective Date: 04/08/2016; Cash Surrender Value (This policy insures the
       life of the debtor's minor daughter)
       North Western Mutual Term Life Insurance Policy, Policy no. 3883;                        Self- Jonathan Flanary                $ 1.00
       Effective Date: 11/18/2015 ( This policy insures the life of the debtor's
       estranged wife Allison Flanary)
       North Western Mutual Term Life Insurance Policy, Policy no. 3345;                        Estranged Wife- Allison Flanary       $ 1.00
       Effective Date: 01/11/2016
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....

      Fraud Claim against Allison Flanary                                                                                              $ 1.00
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
       off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...


      Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
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                  First Name            Middle Name           Last Name
                                                                                          Document     Page 9 of 82      Case number(if known) 23-01322



 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤           $ 80,171.60


 Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                     $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                  $ 739,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 128,640.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 5,650.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 80,171.60
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 214,461.60                        Copy personal property total➤         +$
                                                                                                                                                                                                               214,461.60
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                        $ 953,461.60




                                                                                                                                                                                                                    page 7 of 7
               Case 23-01322-eg               Doc 14        Filed 06/01/23 Entered 06/01/23 09:16:30                                     Desc Main
                                                           Document      Page 10 of 82
 Fill in this information to identify your case:

                     Jonathan Mark Flanary
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of South Carolina District of __________
                                                                                  (State)
 Case number
  (If known)
                      23-01322
                     ___________________________________________                                                                               Check if this is an
                                                                                                                                                  amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                         4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                         exemption you claim

                                                          Copy the value from                     Check only one box
                                                          Schedule A/B                            for each exemption
                 1232 Kruger Ave.                                                                                                S.C. Code Ann. § 15-41-30 (A)(1)
 Brief
 description:
                                                                  389,000.00
                                                                 $________________             60,400.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
 Line from                                                                                      any applicable statutory limit
 Schedule A/B:        1.1
                 2022 Ford F350                                                                                                  S.C. Code Ann. § 15-41-30 (A)(2)
 Brief
 description:
                                                                   56,325.00
                                                                 $________________             6,700.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
 Line from                                                                                      any applicable statutory limit
 Schedule A/B:       3.1
              Household Goods - Kitchenware                                                                                      S.C. Code Ann. § 15-41-30 (A)(3)
 Brief        Stove
 description: Refrigerator
                                                                   2,175.00
                                                                 $________________             2,175.00
                                                                                            ✔ $ ____________

              Washing Machine                                                                100% of fair market value, up to
 Line from Dryer                                                                                any applicable statutory limit
              Living Room Furniture
 Schedule A/B:       6

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                            3
                                                                                                                                                        page 1 of __
             Case 23-01322-eg Doc 14 Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
Debtor          Jonathan Mark Flanary               Document
               _______________________________________________________
                                                                       Page 11 of Case
                                                                                   82 number (if known)_____________________________________
                                                                                                        23-01322
                First Name      Middle Name             Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                  Amount of the                        Specific laws that allow exemption
                                                                         Current value of the   exemption you claim
         on Schedule A/B that lists this property                        portion you own
                                                                        Copy the value from    Check only one box
                                                                         Schedule A/B           for each exemption
               Electronics - 3 Televisions ($250)                                                                                     S.C. Code Ann. § 15-41-30 (A)(3)
Brief        MacBook Air ($200)
description: HP Printer ($25)
                                                                          1,425.00
                                                                         $________________         1,425.00
                                                                                                ✔ $ ____________
               iPhone 14 ($600)                                                                  100% of fair market value, up to
Line from iPad ($50)                                                                                any applicable statutory limit
Schedule A/B:    7
               Collectibles Of Value - Household Décor                                                                                S.C. Code Ann. § 15-41-30 (A)(3)
Brief
description:                                                             $________________
                                                                          50.00                 
                                                                                                ✔ $ ____________
                                                                                                    50.00
                                                                                                 100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:          8
               Firearms - Glock Handgun ($200)                                                                                        S.C. Code Ann. § 15-41-30(A)(15)
Brief          Benelli Ethos 12 Gauge Shotgun ($1000)
description:                                                             $________________
                                                                          1,200.00              
                                                                                                ✔ $ ____________
                                                                                                    1,200.00
                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         10
               Clothing - Clothing and Personal Items                                                                                 S.C. Code Ann. § 15-41-30 (A)(3)
Brief
description:
                                                                          800.00
                                                                         $________________         800.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:        11
               Chime Checking Acct: #8327 (Checking Account)                                                                       SC Code Section 15-41-30(A)(7)
Brief                                                                                                                              Wildcard exemption funded by unused
description:
                                                                          1,995.00
                                                                         $________________         925.00
                                                                                                ✔ $ ____________
                                                                                                                                   portion of household items exemption
                                                                                                 100% of fair market value, up to 15-41-30(A)(3)
Line from                                                                                         any applicable statutory limit
Schedule A/B:          17.4
               Bitcoin through Venmo                                                                                               SC Code Section 15-41-30(A)(7)
Brief                                                                                                                              Wildcard exemption funded by unused
description:
                                                                          32.60
                                                                         $________________         32.60
                                                                                                ✔ $ ____________
                                                                                                                                   portion of household items exemption
                                                                                                 100% of fair market value, up to 15-41-30(A)(3)
Line from                                                                                         any applicable statutory limit
Schedule A/B:        18
             North Western Mutual Whole Life Insurance Policy,                                                                        S.C. Code Ann. § 15-41-30 (A)(8)
Brief        Policy no. 5336; Effective Date: 10/11/2012 ( This policy
description: insures the life of the debtor's minor daughter)
                                                                        2,130.28
                                                                       $________________           2,130.28
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         31
               North Western Mutual Term Life Insurance Policy, Policy                                                                S.C. Code Ann. § 15-41-30 (A)(8)
Brief          no. 5336; Effective Date: 10/11/2012
description:
                                                                          1.00
                                                                         $________________         1.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:         31
             North Western Mutual Term Life Insurance Policy, Policy                                                                  S.C. Code Ann. § 15-41-30 (A)(8)
Brief        no. 2940; Effective Date: 5/16/2016 ( This policy insures
description: the life of the debtor's estranged wife Allison Flanary)
                                                                        1.00
                                                                       $________________         $ ____________
                                                                                                ✔   1.00
                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:        31
             North Western Mutual Whole Life Insurance Policy,                                                                        S.C. Code Ann. § 15-41-30 (A)(8)
Brief        Policy no. 6713; Effective Date: 10/20/2010; Cash            3,138.16
description: Surrender Value                                             $________________       $ ____________
                                                                                                ✔   3,138.16
                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         31
               North Western Mutual Term Life Insurance Policy, Policy                                                                S.C. Code Ann. § 15-41-30 (A)(8)
Brief          no. 4961; Effective Date: 03/20/2005
description:
                                                                          1.00
                                                                         $________________         1.00
                                                                                                ✔ $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:         31
               North Western Mutual Whole Life Insurance Policy,                                                                      S.C. Code Ann. § 15-41-30 (A)(8)
Brief        Policy no. 9211; Effective Date: 04/08/2016; Cash
description: Surrender Value (This policy insures the life of the
                                                                          2,378.04
                                                                         $________________         2,378.04
                                                                                                ✔ $ ____________

               debtor's minor son)                                                               100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:           31


 Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                   2
                                                                                                                                                      page ___ of __3
             Case 23-01322-eg Doc 14 Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
Debtor          Jonathan Mark Flanary               Document
               _______________________________________________________
                                                                       Page 12 of Case
                                                                                   82 number (if known)_____________________________________
                                                                                                        23-01322
                First Name     Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                  Amount of the                       Specific laws that allow exemption
                                                                         Current value of the   exemption you claim
         on Schedule A/B that lists this property                        portion you own
                                                                        Copy the value from    Check only one box
                                                                         Schedule A/B           for each exemption
               North Western Mutual Whole Life Insurance Policy,                                                                     S.C. Code Ann. § 15-41-30 (A)(8)
Brief        Policy no. 9220; Effective Date: 04/08/2016; Cash
description: Surrender Value (This policy insures the life of the
                                                                          2,380.00
                                                                         $________________         2,380.00
                                                                                                ✔ $ ____________
               debtor's minor daughter)                                                          100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         31
             North Western Mutual Term Life Insurance Policy, Policy                                                                 S.C. Code Ann. § 15-41-30 (A)(8)
Brief        no. 3883; Effective Date: 11/18/2015 ( This policy insures $________________
description: the life of the debtor's estranged wife Allison Flanary)
                                                                         1.00                   
                                                                                                ✔ $ ____________
                                                                                                    1.00
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:         31
               North Western Mutual Term Life Insurance Policy, Policy                                                               S.C. Code Ann. § 15-41-30 (A)(8)
Brief          no. 3345; Effective Date: 01/11/2016
description:                                                             $________________
                                                                          1.00                  
                                                                                                ✔ $ ____________
                                                                                                    1.00
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:           31

Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     3
                                                                                                                                                     page ___ of __3
               Case 23-01322-eg                        Doc 14        Filed 06/01/23 Entered 06/01/23 09:16:30                           Desc Main
                                                                    Document      Page 13 of 82
  Fill in this information to identify your case:

  Debtor 1           Jonathan Mark Flanary
                     First Name                             Last Name
                                         Middle Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name
                                                                 Last Name



  United States Bankruptcy Court for the: District of South Carolina

  Case number 23-01322                                                                                                                             Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                          Describe the property that secures the claim: $ 85,069.50          $ 389,000.00      $ 0.00


       Bank of America
                                                            1232 Kruger Ave., Charleston, SC 29407 - $389,000.00 1609
       Creditor’s Name                                      Diddy Dr. Mount Pleasant, SC 29464-Judgment entered
                                                            5/14/2014
       PO Box 982238
       Number                                               As of the date you file, the claim is: Check all
                     Street
       El Paso TX             79998-2238                    that apply.
       City        State      ZIP Code                         Contingent
       Who owes the debt? Check one.                           Unliquidated
         Debtor 1 only                                         Disputed
         Debtor 2 only
                                                            Nature of lien. Check all that apply.
         Debtor 1 and Debtor 2 only
                                                               An agreement you made (such as mortgage or
         At least one of the debtors and another               secured car loan)
                                                               Statutory lien (such as tax lien, mechanic’s lien)
              Check if this claim relates to a
              community debt                                   Judgment lien from a lawsuit
                                                               Other (including a right to offset)
       Date debt was incurred
                                                            Last 4 digits of account number 0512




Official Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 4
               Jonathan Mark Flanary
Debtor         Case    23-01322-eg
               First Name           Middle Name            Doc 14
                                                    Last Name           Filed 06/01/23 Entered 06/01/23 Case
                                                                                                        09:16:30          Desc
                                                                                                             number(if known)    Main
                                                                                                                              23-01322
                                                                       Document      Page 14 of 82
 2.2                                                              Describe the property that secures the claim: $ 25,247.92    $ 389,000.00   $ 0.00


       Bank of America                                          1232 Kruger Ave., Charleston, SC 29407 - $389,000.00 (Est.
       Creditor’s Name                                          Arrearage $458.43.)
       PO Box 982238
       Number                                                   As of the date you file, the claim is: Check all
                     Street
       El Paso TX             79998-2238                        that apply.
       City        State      ZIP Code                             Contingent
       Who owes the debt? Check one.                               Unliquidated
         Debtor 1 only                                             Disputed
         Debtor 2 only
                                                                Nature of lien. Check all that apply.
         Debtor 1 and Debtor 2 only
                                                                   An agreement you made (such as mortgage or
         At least one of the debtors and another                   secured car loan)
                                                                   Statutory lien (such as tax lien, mechanic’s lien)
              Check if this claim relates to a
              community debt                                       Judgment lien from a lawsuit
                                                                                                       HELOC/ 2nd
       Date debt was incurred 10-31-2007                           Other (including a right to offset) Mortgage
                                                                Last 4 digits of account number 0663

 2.3                                                              Describe the property that secures the claim: $ 5,546.55     $ 389,000.00   $ 0.00


       Discover Financial
                                                                1232 Kruger Ave., Charleston, SC 29407 - $389,000.00 1609
       Creditor’s Name                                          Diddy Dr. Mount Pleasant, SC 29464- Judgment entered
                                                                9/25/2013
       Attn: Bankruptcy
       Number                                                   As of the date you file, the claim is: Check all
                     Street
       PO Box 3025                                              that apply.
                                                                   Contingent
       New Albany OH                 43054                         Unliquidated
       City                 State    ZIP Code                      Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                          Nature of lien. Check all that apply.
         Debtor 2 only                                             An agreement you made (such as mortgage or
                                                                   secured car loan)
         Debtor 1 and Debtor 2 only                                Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another                   Judgment lien from a lawsuit
              Check if this claim relates to a                     Other (including a right to offset)
              community debt                                    Last 4 digits of account number 0775
       Date debt was incurred 6/18/12

 2.4                                                              Describe the property that secures the claim: $ 132,975.61   $ 389,000.00   $ 0.00


       PHH Mortgage Services
                                                                1232 Kruger Ave., Charleston, SC 29407 - $389,000.00
       Creditor’s Name                                          Mortgage ( Est. Arrearage $1,113.29)
       1661 Worthington Road
       Number                                                   As of the date you file, the claim is: Check all
                     Street
       Suite 100                                                that apply.
                                                                   Contingent
       West Palm Beach FL                   33409                  Unliquidated
       City                         State   ZIP Code               Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                          Nature of lien. Check all that apply.
         Debtor 2 only                                             An agreement you made (such as mortgage or
                                                                   secured car loan)
         Debtor 1 and Debtor 2 only                                Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another                   Judgment lien from a lawsuit
              Check if this claim relates to a                     Other (including a right to offset) Mortgage
              community debt                                    Last 4 digits of account number 9443
       Date debt was incurred 10-27-2006




Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 4
                Jonathan Mark Flanary
Debtor          Case    23-01322-eg
                First Name        Middle Name          Doc 14
                                                Last Name           Filed 06/01/23 Entered 06/01/23 Case
                                                                                                    09:16:30          Desc
                                                                                                         number(if known)    Main
                                                                                                                          23-01322
                                                                   Document      Page 15 of 82
 2.5                                                          Describe the property that secures the claim: $ 6,665.76             $ 6,665.76    $ 0.00


        SC Department of Revenue                            All Real and Personal Property - $6,665.76
        Creditor’s Name
        Office of the General Counsel Bankruptcy
        Number                                              As of the date you file, the claim is: Check all
                     Street
        Section                                             that apply.
                                                               Contingent
        300A Outlet Pointe Blvd                                Unliquidated
                                                               Disputed
        Columbia SC             29210-5666
                                                            Nature of lien. Check all that apply.
        City           State    ZIP Code
        Who owes the debt? Check one.                          An agreement you made (such as mortgage or
                                                               secured car loan)
          Debtor 1 only
                                                               Statutory lien (such as tax lien, mechanic’s lien)
          Debtor 2 only
                                                               Judgment lien from a lawsuit
          Debtor 1 and Debtor 2 only
                                                               Other (including a right to offset)
          At least one of the debtors and another
                                                            Last 4 digits of account number
               Check if this claim relates to a
               community debt

        Date debt was incurred

 2.6                                                          Describe the property that secures the claim: $ 67,801.58            $ 68,815.00   $ 0.00


        South State Bank N.A.
                                                            2021 Sea Hunt Ultra 234 - $68,815.00
        Creditor’s Name
        P.O. Box 6335
        Number                                              As of the date you file, the claim is: Check all
                     Street
        Fargo ND             58125                          that apply.
        City      State      ZIP Code                          Contingent
        Who owes the debt? Check one.                          Unliquidated
          Debtor 1 only                                        Disputed
          Debtor 2 only
                                                            Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                               An agreement you made (such as mortgage or
          At least one of the debtors and another              secured car loan)
                                                               Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                  Judgment lien from a lawsuit
                                                               Other (including a right to offset) PMSI
        Date debt was incurred
                                                            Last 4 digits of account number 1283

 2.7                                                          Describe the property that secures the claim: $ 40,477.58            $ 56,325.00   $ 0.00


        South State Bank N.A.                               2022 Ford F350 - $56,325.00
        Creditor’s Name
        P.O. Box 6335
        Number                                              As of the date you file, the claim is: Check all
                     Street
        Fargo ND             58125                          that apply.
        City      State      ZIP Code                          Contingent
        Who owes the debt? Check one.                          Unliquidated
          Debtor 1 only                                        Disputed
          Debtor 2 only
                                                            Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                               An agreement you made (such as mortgage or
          At least one of the debtors and another              secured car loan)
                                                               Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                  Judgment lien from a lawsuit
                                                               Other (including a right to offset) PMSI<910
        Date debt was incurred 09-30-2021
                                                            Last 4 digits of account number 7720

       Add the dollar value of your entries in Column A on this page. Write that number here:                       $ 363,784.50


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have

Official Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 4
                Jonathan Mark Flanary
Debtor          Case    23-01322-eg
                First Name           Middle Name          Doc 14
                                                   Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                     09:16:30          Desc
                                                                                                          number(if known)    Main
                                                                                                                           23-01322
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   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

         Christopher J. Neeson, Esq.                                             On which line in Part 1 did you enter the creditor? 2.1
         Creditor’s Name                                                         Last 4 digits of account number
         P.O. Box 90260
         Number
                       Street
         Indianapolis IN               46290
         City                State     ZIP Code
         Susan B. Shaw, Esq.                                                     On which line in Part 1 did you enter the creditor? 2.1
         Creditor’s Name                                                         Last 4 digits of account number
         945 Paces Ferry Rd., Suite 2750
         Number
                       Street
         Atlanta GA             30326
         City        State      ZIP Code
         Trace M. Dillon Esq.                                                    On which line in Part 1 did you enter the creditor? 2.3
         Creditor’s Name                                                         Last 4 digits of account number
         The Dillon Law Firm P.C.
         Number
                       Street
         P.O. Box 1850

         Tallevast FL             34270
         City           State     ZIP Code




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                   page 4 of 4
                Case 23-01322-eg                        Doc 14        Filed 06/01/23 Entered 06/01/23 09:16:30                                  Desc Main
                                                                     Document      Page 17 of 82
   Fill in this information to identify your case:

                   Jonathan Mark Flanary
   Debtor 1
                   First Name                                 Last Name
                                          Middle Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name
                                                                   Last Name



   United States Bankruptcy Court for the: District of South Carolina

   Case number 23-01322                                                                                                                                      Check if this is
   (if know)                                                                                                                                                 an amended
                                                                                                                                                             filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                  Total claim   Priority        Nonpriority
                                                                                                                                                amount          amount
  2.1                                                                     Last 4 digits of account number
         Allison M. Flanary                                                                                               $ 6,622.64            $ 6,622.64      $ 0.00
         Priority Creditor's Name
                                                                          When was the debt incurred? Phone Number: 843-830-5396

         1609 Diddy Dr.                                                   As of the date you file, the claim is: Check all
         Number
                       Street
                                                                          that apply.
         Mount Pleasant SC              29464                                Contingent
         City                   State   ZIP Code                             Unliquidated
         Who owes the debt? Check one.                                       Disputed
             Debtor 1 only
                                                                          Type of PRIORITY unsecured claim:
             Debtor 2 only
                                                                             Domestic support obligations
             Debtor 1 and Debtor 2 only
                                                                             Taxes and certain other debts you owe the
             At least one of the debtors and another                         government
             Check if this claim relates to a community                      Claims for death or personal injury while you were
             debt                                                            intoxicated
         Is the claim subject to offset?                                    Other. Specify
             No
             Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name      Middle Name             Doc 14
                                                  Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                    09:16:30          Desc
                                                                                                         number(if known)    Main
                                                                                                                          23-01322
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  2.2                                                                Last 4 digits of account number
          Charleston County Delinquent Tax                                                                           $ 3,222.78   $ 3,222.78   $ 0.00
          Priority Creditor's Name
                                                                     When was the debt incurred? 2022 Property Taxes

          4045 Bridgeview Dr.                                        As of the date you file, the claim is: Check all
          Number
                        Street
                                                                     that apply.
          North Charleston SC             29405                         Contingent
          City                   State    ZIP Code                      Unliquidated
          Who owes the debt? Check one.                                 Disputed
              Debtor 1 only
                                                                     Type of PRIORITY unsecured claim:
              Debtor 2 only
                                                                        Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the
              At least one of the debtors and another                   government
              Check if this claim relates to a community                Claims for death or personal injury while you were
              debt                                                      intoxicated
          Is the claim subject to offset?                              Other. Specify
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                              page 2 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name            Middle Name             Doc 14
                                                        Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                               number(if known)    Main
                                                                                                                                23-01322
                                                                         Document      Page 19 of 82
   Part 1:        Your PRIORITY Unsecured Claims ─ Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and                                     Total claim   Priority   Nonpriority
  so forth.                                                                                                                                      amount     amount

  2.3                                                                      Last 4 digits of account number
          Charleston County Family Court                                                                                           $ 0.00        $ 0.00     $ 0.00
          Priority Creditor's Name
                                                                           When was the debt incurred? Notice Only

          100 Broad Street                                                 As of the date you file, the claim is: Check all
          Number
                        Street
                                                                           that apply.
          Suite 143                                                           Contingent
                                                                              Unliquidated
          Charleston SC                29401                                  Disputed
          City                State    ZIP Code
          Who owes the debt? Check one.                                    Type of PRIORITY unsecured claim:
              Debtor 1 only                                                   Domestic support obligations
              Debtor 2 only                                                   Taxes and certain other debts you owe the
                                                                              government
              Debtor 1 and Debtor 2 only                                      Claims for death or personal injury while you were
              At least one of the debtors and another                         intoxicated
              Check if this claim relates to a community                     Other. Specify
              debt
          Is the claim subject to offset?
              No
              Yes
  2.4                                                                      Last 4 digits of account number
          Charleston County Treasurer                                                                                              $ 0.00        $ 0.00     $ 0.00
          Priority Creditor's Name
                                                                           When was the debt incurred? Notice Only

          4045 Bridgeview Drive                                            As of the date you file, the claim is: Check all
          Number
                        Street
                                                                           that apply.
          North Charleston SC                   29405                         Contingent
          City                         State    ZIP Code                      Unliquidated
          Who owes the debt? Check one.                                       Disputed
              Debtor 1 only
                                                                           Type of PRIORITY unsecured claim:
              Debtor 2 only
                                                                              Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                              Taxes and certain other debts you owe the
              At least one of the debtors and another                         government
              Check if this claim relates to a community                      Claims for death or personal injury while you were
              debt                                                            intoxicated
          Is the claim subject to offset?                                    Other. Specify
              No
              Yes
  2.5                                                                      Last 4 digits of account number
          Internal Revenue Service                                                                                                 $ 0.00        $ 0.00     $ 0.00
          Priority Creditor's Name
                                                                           When was the debt incurred?

          Centralized Insolvency Operations                                As of the date you file, the claim is: Check all
          Number                                                           that apply.
                        Street
          PO Box 7346                                                         Contingent
                                                                              Unliquidated
          Philadelphia PA                19101-7346                           Disputed
          City                 State     ZIP Code
          Who owes the debt? Check one.                                    Type of PRIORITY unsecured claim:
                                                                              Domestic support obligations
              Debtor 1 only
                                                                              Taxes and certain other debts you owe the
              Debtor 2 only
                                                                              government
              Debtor 1 and Debtor 2 only                                      Claims for death or personal injury while you were
              At least one of the debtors and another                         intoxicated
              Check if this claim relates to a community                     Other. Specify
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name      Middle Name             Doc 14
                                                  Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                    09:16:30          Desc
                                                                                                         number(if known)    Main
                                                                                                                          23-01322
                                                                   Document      Page 20 of 82
  2.6                                                                Last 4 digits of account number
          Meredith Law Firm, LLC                                                                                             $ 2,349.00    $ 2,349.00    $ 0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          4000 Faber Place Drive                                     As of the date you file, the claim is: Check all
          Number                                                     that apply.
                        Street
          Suite 120                                                     Contingent
                                                                        Unliquidated
          North Charleston SC             29405                         Disputed
          City                   State    ZIP Code
          Who owes the debt? Check one.                              Type of PRIORITY unsecured claim:
                                                                        Domestic support obligations
              Debtor 1 only
                                                                        Taxes and certain other debts you owe the
              Debtor 2 only
                                                                        government
              Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
              At least one of the debtors and another                   intoxicated
              Check if this claim relates to a community               Other. Specify Attorney Fees
              debt
          Is the claim subject to offset?
              No
              Yes
  2.7                                                                Last 4 digits of account number
          South Carolina Department of Revenue                                                                               $ 48,515.18   $ 48,515.18   $ 0.00
          Priority Creditor's Name
                                                                                                   Sales and Use
                                                                     When was the debt incurred? Tax
          Office of the General Counsel- Bankruptcy
          Number                                                     As of the date you file, the claim is: Check all
                        Street
          Section                                                    that apply.
                                                                        Contingent
          300A Outlet Pointe Blvd                                       Unliquidated
                                                                        Disputed
          Columbia SC            29210-5666
                                                                     Type of PRIORITY unsecured claim:
          City           State   ZIP Code
                                                                        Domestic support obligations
          Who owes the debt? Check one.
                                                                        Taxes and certain other debts you owe the
              Debtor 1 only                                             government
              Debtor 2 only                                             Claims for death or personal injury while you were
              Debtor 1 and Debtor 2 only                                intoxicated
              At least one of the debtors and another                  Other. Specify

              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes
   Part 2:        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name         Middle Name          Doc 14
                                                  Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                         number(if known)    Main
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  4.1                                                                Last 4 digits of account number
          ABC/Amega                                                                                                                     $ 1,285.71
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          500 Seneca St. Suite 503                                   As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Buffalo NY             14204                                  Unliquidated
          City        State      ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes

  4.2                                                                Last 4 digits of account number
          Abercrombia Textiles                                                                                                             $ 91.08
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          3400 US 211A                                               As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Cliffside NC            28024                                 Unliquidated
          City         State      ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes

  4.3                                                                Last 4 digits of account number
          Aff Group                                                                                                                     $ 3,130.53
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          101 Groce Rd.                                              As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Lyman SC               29365                                  Unliquidated
          City       State       ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                      page 5 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name        Middle Name                Doc 14
                                                       Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                              number(if known)    Main
                                                                                                                               23-01322
                                                                        Document      Page 22 of 82
  4.4                                                                     Last 4 digits of account number
          A.G. Adjustments, LTD                                                                                                                $ 2,013.37
          Nonpriority Creditor's Name
                                                                          When was the debt incurred?

          740 Walt Whitman Rd.                                            As of the date you file, the claim is: Check all that apply.
          Number                                                             Contingent
                        Street
          Melville NY            11747                                       Unliquidated
          City        State      ZIP Code                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                 Student loans
              Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
              At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                     debts
              debt                                                           Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                 debt
              No
              Yes

  4.5                                                                     Last 4 digits of account number
          Allison Flanary                                                                                                                    $ 302,856.55
          Nonpriority Creditor's Name
                                                                          When was the debt incurred?

          1609 Diddy Dr.                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                             Contingent
                        Street
          Mount Pleasant SC                 29464                            Unliquidated
          City                    State     ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                 Student loans
              Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
              At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                     debts
              debt                                                          Other. Specify Dischargeable Property Settlement
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                     Last 4 digits of account number
          Altus Receivables Management                                                                                                         $ 1,084.13
          Nonpriority Creditor's Name
                                                                          When was the debt incurred?

          2121 Airline Dr., Suite 520                                     As of the date you file, the claim is: Check all that apply.
          Number                                                             Contingent
                        Street
          Metairie LA            70002                                       Unliquidated
          City         State     ZIP Code                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                 Student loans
              Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
              At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                     debts
              debt                                                           Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                 debt
              No
              Yes




Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                        page 6 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name        Middle Name          Doc 14
                                                 Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                        number(if known)    Main
                                                                                                                         23-01322
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  4.7                                                               Last 4 digits of account number
          American Custom Finishing                                                                                                      $ 141.65
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          2830 US Hwy 70 SE.                                        As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Hickory NC             28603                                 Unliquidated
          City        State      ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                           debt
              No
              Yes

  4.8                                                               Last 4 digits of account number 3143
          American Express                                                                                                             $ 13,676.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 07-07-2022

          PO Box 981540                                             As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          El Paso TX             79998                                 Unliquidated
          City         State     ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Unsecured Credit Card
          Is the claim subject to offset?
              No
              Yes

  4.9                                                               Last 4 digits of account number
          Bella Home Furnishings                                                                                                         $ 466.84
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          115 W Willis St.                                          As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Prescott AZ            86301                                 Unliquidated
          City         State     ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                           debt
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                       page 7 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name           Doc 14
                                                     Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                            number(if known)    Main
                                                                                                                             23-01322
                                                                      Document      Page 24 of 82
  4.10 Belle Maison                                                     Last 4 digits of account number
                                                                                                                                           $ 1,098.07
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          89-50 127th Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Richmond Hill NY                11418                            Unliquidated
          City                   State    ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes

  4.11 Capris Furniture                                                 Last 4 digits of account number
                                                                                                                                           $ 1,560.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1401 NW 27th Ave.                                             As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Ocala FL             34475                                       Unliquidated
          City      State      ZIP Code                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes

  4.12 Charlotte Fabrics                                                Last 4 digits of account number
                                                                                                                                            $ 676.87
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          3101 Louisiana Ave. N                                         As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Minneapolis MN                 55427                             Unliquidated
          City                State      ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                      page 8 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name            Middle Name          Doc 14
                                                     Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                            number(if known)    Main
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                                                                      Document      Page 25 of 82
  4.13 Classical Elements, LLC                                          Last 4 digits of account number
                                                                                                                                              $ 154.72
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          P.O. Box 1189                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          High Point NC                27261                               Unliquidated
          City                State    ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes

  4.14 Covington Fabrics & Design, LLC                                  Last 4 digits of account number
                                                                                                                                             $ 3,671.92
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          P.O. Box 603467                                               As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Charlotte NC                28260                                Unliquidated
          City           State        ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes

  4.15 Credit International Corporation                                 Last 4 digits of account number 4287
                                                                                                                                           $ 101,841.44
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          P.O. Box 1268                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Bothell WA             98041                                     Unliquidated
          City       State       ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name         Middle Name               Doc 14
                                                       Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                         09:16:30          Desc
                                                                                                              number(if known)    Main
                                                                                                                               23-01322
                                                                        Document      Page 26 of 82
  4.16 Credit International Corportation                                  Last 4 digits of account number
                                                                                                                                             $ 58,827.68
          Nonpriority Creditor's Name
                                                                          When was the debt incurred?

          P.O. Box 1268                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                             Contingent
                        Street
          Bothell WA             98041                                       Unliquidated
          City       State       ZIP Code                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                 Student loans
              Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
              At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                     debts
              debt                                                           Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                 debt
              No
              Yes

  4.17 Crypton Inc.                                                       Last 4 digits of account number
                                                                                                                                              $ 5,353.76
          Nonpriority Creditor's Name
                                                                          When was the debt incurred?

          513 Crypton Dr.                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                             Contingent
                        Street
          Kings Mountain NC                 28086                            Unliquidated
          City                    State     ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                 Student loans
              Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
              At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                     debts
              debt                                                           Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                 debt
              No
              Yes

  4.18 Curio Brands                                                       Last 4 digits of account number
                                                                                                                                                 $ 10.00
          Nonpriority Creditor's Name
                                                                          When was the debt incurred?

          1010 Lynn Ln. #3963                                             As of the date you file, the claim is: Check all that apply.
          Number                                                             Contingent
                        Street
          Starkville MS            39759                                     Unliquidated
          City           State     ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                 Student loans
              Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
              At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                     debts
              debt                                                           Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                 debt
              No
              Yes




Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                      page 10 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name          Doc 14
                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                      09:16:30          Desc
                                                                                                           number(if known)    Main
                                                                                                                            23-01322
                                                                     Document      Page 27 of 82
  4.19 Department of Education/Aidvantage                              Last 4 digits of account number 1115
                                                                                                                                         $ 6,608.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 08-17-2010

          PO Box 9635                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Wilkes Barre PA                18773                            Unliquidated
          City                State      ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another
                                                                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify Notice Only-Educational (The debtor
          Is the claim subject to offset?                              understands this debt is non-dischargeable within this
              No                                                       bankruptcy case.)
              Yes

  4.20 Department of Education/Aidvantage                              Last 4 digits of account number 1115
                                                                                                                                         $ 7,573.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 08-15-2011

          PO Box 9635                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Wilkes Barre PA                18773                            Unliquidated
          City                State      ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.21 Department of Education/Aidvantage                              Last 4 digits of account number 1115
                                                                                                                                         $ 1,377.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 08-15-2011

          PO Box 9635                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Wilkes Barre PA                18773                            Unliquidated
          City                State      ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify Notice Only-Educational (The debtor
          Is the claim subject to offset?                              understands this debt is non-dischargeable within this
              No                                                       bankruptcy case.)

              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name              Doc 14
                                                        Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                          09:16:30          Desc
                                                                                                               number(if known)    Main
                                                                                                                                23-01322
                                                                         Document      Page 28 of 82
  4.22 Department of Education/Aidvantage                                  Last 4 digits of account number 1115
                                                                                                                                              $ 2,203.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 08-15-2011

          PO Box 9635                                                      As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Wilkes Barre PA                18773                                Unliquidated
          City                State      ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                            Other. Specify Notice Only-Educational (The debtor
          Is the claim subject to offset?                                  understands this debt is non-dischargeable within this
              No                                                           bankruptcy case.)
              Yes

  4.23 Department of Education/Aidvantage                                  Last 4 digits of account number 1115
                                                                                                                                              $ 5,808.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 08-17-2010

          PO Box 9635                                                      As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Wilkes Barre PA                18773                                Unliquidated
          City                State      ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                            Other. Specify Notice Only-Educational (The debtor
          Is the claim subject to offset?                                  understands this debt is non-dischargeable within this
              No                                                           bankruptcy case.)
              Yes

  4.24 Distincitive Delivery Service, LLC                                  Last 4 digits of account number
                                                                                                                                               $ 270.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          1811 Indigo Market Dr. Suite 205                                 As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Mount Pleasant SC                  29464                            Unliquidated
          City                   State       ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                            Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                  debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name             Middle Name          Doc 14
                                                      Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                             number(if known)    Main
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  4.25 Dominion Energy                                                   Last 4 digits of account number
                                                                                                                                             $ 343.21
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          PO Box 100255                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Columbia SC                 29202                                 Unliquidated
          City           State        ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes

  4.26 Dovetail Furniture                                                Last 4 digits of account number
                                                                                                                                            $ 3,694.60
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          14000 S. Figueroa St.                                          As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Los Angeles CA                  90061                             Unliquidated
          City                  State     ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes

  4.27 Drapery Boutique, Inc                                             Last 4 digits of account number
                                                                                                                                            $ 2,925.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          211 Johnson St.                                                As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Haw River NC                  27258                               Unliquidated
          City                State     ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name         Middle Name            Doc 14
                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                           number(if known)    Main
                                                                                                                            23-01322
                                                                     Document      Page 30 of 82
  4.28 Eastern Accents                                                 Last 4 digits of account number
                                                                                                                                          $ 1,062.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          4201 Belmont Ave.                                            As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Chicago IL             60641                                    Unliquidated
          City         State     ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.29 EGS Financial Care, Inc.                                        Last 4 digits of account number
                                                                                                                                          $ 1,006.39
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          2085 Lynnhaven Pkwy.                                         As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Ste 106-601                                                     Unliquidated
                                                                          Disputed
          Virginia Beach VA              23456
                                                                       Type of NONPRIORITY unsecured claim:
          City                   State   ZIP Code
          Who owes the debt? Check one.                                  Student loans
              Debtor 1 only                                               Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              Debtor 2 only
                                                                          Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                  debts
              At least one of the debtors and another                     Other. Specify notice only - potential liability for business
              Check if this claim relates to a community               debt
              debt
          Is the claim subject to offset?
              No
              Yes

  4.30 Elk Group International                                         Last 4 digits of account number
                                                                                                                                          $ 1,634.53
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          12 Willow Ln.                                                As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Nesquehoning PA                18240                            Unliquidated
          City                   State   ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name        Middle Name          Doc 14
                                                 Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                        number(if known)    Main
                                                                                                                         23-01322
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  4.31 Fabricut                                                     Last 4 digits of account number
                                                                                                                                       $ 3,711.70
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          9303 East 46th St.                                        As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Tulsa OK            74145                                    Unliquidated
          City      State     ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                           debt
              No
              Yes

  4.32 Fibreworks                                                   Last 4 digits of account number
                                                                                                                                        $ 553.87
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          2301 Brennen Business Court                               As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Louisville KY           40299                                Unliquidated
          City           State    ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                           debt
              No
              Yes

  4.33 F. Shumacher & Co.                                           Last 4 digits of account number
                                                                                                                                       $ 9,754.32
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          979 3rd Ave. #832                                         As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          New York NY             10022                                Unliquidated
          City            State   ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                           debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name          Doc 14
                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                      09:16:30          Desc
                                                                                                           number(if known)    Main
                                                                                                                            23-01322
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  4.34 Gabby Home                                                      Last 4 digits of account number
                                                                                                                                          $ 3,678.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          3140 Pelham Parkway                                          As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Pelham AL               35124                                   Unliquidated
          City        State       ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.35 Global Textile Alliance                                         Last 4 digits of account number
                                                                                                                                           $ 313.71
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          2361 Holiday Loop                                            As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Reidsville NC               27320                               Unliquidated
          City           State        ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.36 Golding Fabrics Inc.                                            Last 4 digits of account number
                                                                                                                                           $ 605.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          7097 Mendenhall Rd.                                          As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          High Point NC               27263                               Unliquidated
          City                State   ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name            Middle Name              Doc 14
                                                         Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                           09:16:30          Desc
                                                                                                                number(if known)    Main
                                                                                                                                 23-01322
                                                                          Document      Page 33 of 82
  4.37 Gulfstream Communications                                            Last 4 digits of account number
                                                                                                                                               $ 5,850.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          P.O. Box 1794                                                     As of the date you file, the claim is: Check all that apply.
          Number                                                               Contingent
                        Street
          Mount Pleasant SC                   29465                            Unliquidated
          City                        State   ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                             Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                   debt
              No
              Yes

  4.38 Hamilton Fabric Sales                                                Last 4 digits of account number
                                                                                                                                               $ 2,663.68
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          629 Southwest St.                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                               Contingent
                        Street
          High Point NC                27260                                   Unliquidated
          City                State    ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                             Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                   debt
              No
              Yes

  4.39 IDC Trim & Upholstry Supplies                                        Last 4 digits of account number
                                                                                                                                                $ 179.90
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          1340 S. Danzler Rd.                                               As of the date you file, the claim is: Check all that apply.
          Number                                                               Contingent
                        Street
          Duncan SC               29334                                        Unliquidated
          City         State      ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                             Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                   debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name            Doc 14
                                                      Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                        09:16:30          Desc
                                                                                                             number(if known)    Main
                                                                                                                              23-01322
                                                                       Document      Page 34 of 82
  4.40 Illerom Trading, Inc.                                             Last 4 digits of account number
                                                                                                                                            $ 2,766.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          11576 Pierson Rd.                                              As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          West Palm Beach FL                    33414                       Unliquidated
          City                        State     ZIP Code                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes

  4.41 Jaipur Living                                                     Last 4 digits of account number
                                                                                                                                            $ 9,095.54
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1800 Cherokee Pkwy                                             As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Acworth GA              30102                                     Unliquidated
          City         State      ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes

  4.42 JP Morgan Chase Bank                                              Last 4 digits of account number 0061
                                                                                                                                            $ 8,536.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 02-12-2019

          Po Box 15369                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Wilmington DE               19850                                 Unliquidated
          City                State   ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Unsecured Credit Card
          Is the claim subject to offset?
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name          Doc 14
                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                           number(if known)    Main
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  4.43 King Textiles, LLC                                              Last 4 digits of account number
                                                                                                                                           $ 202.60
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          400 Interstate Dr.                                           As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          High Point NC               27263                               Unliquidated
          City                State   ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.44 Kravet                                                          Last 4 digits of account number
                                                                                                                                          $ 2,072.59
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          225 Central Ave. S.                                          As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Bethpage NY                 11714                               Unliquidated
          City           State        ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.45 Lino Textil, LLC                                                Last 4 digits of account number
                                                                                                                                           $ 386.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          270 W. 39th Street,                                          As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          16th Floor                                                      Unliquidated
                                                                          Disputed
          New York NY                 10018
                                                                       Type of NONPRIORITY unsecured claim:
          City            State       ZIP Code
          Who owes the debt? Check one.                                  Student loans
              Debtor 1 only                                               Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              Debtor 2 only
                                                                          Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                  debts
              At least one of the debtors and another                     Other. Specify notice only - potential liability for business
              Check if this claim relates to a community               debt
              debt
          Is the claim subject to offset?
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name          Doc 14
                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                           number(if known)    Main
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  4.46 Lyon Collection Services Inc                                    Last 4 digits of account number
                                                                                                                                          $ 1,726.38
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          7924 West Sahara Ave.                                        As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Las Vegas NV                89117                               Unliquidated
          City                State   ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.47 Magitex Decor                                                   Last 4 digits of account number
                                                                                                                                           $ 759.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          2791 NW 82nd Ave.                                            As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Miami FL              33122                                     Unliquidated
          City      State       ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.48 Magnolia Companies                                              Last 4 digits of account number
                                                                                                                                          $ 4,401.26
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          P.O. Box 67                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Belden MS              38826                                    Unliquidated
          City        State      ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




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                 Jonathan Mark Flanary
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                 First Name            Middle Name          Doc 14
                                                     Last Name         Filed 06/01/23 Entered 06/01/23 Case
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  4.49 Michael Kennedy                                                  Last 4 digits of account number
                                                                                                                                           $ 202,992.72
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          Lincoln & Morgan                                              As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          600 W. Broadway, Suite 700                                       Unliquidated
                                                                           Disputed
          San Diego CA                 92101
                                                                        Type of NONPRIORITY unsecured claim:
          City                State    ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify UCC-1 Lien
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.50 Michell Fabrics                                                  Last 4 digits of account number
                                                                                                                                              $ 267.74
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          3532 Coleman Ct., Ste C                                       As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Lafayette IN                47905                                Unliquidated
          City           State        ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes

  4.51 Mitel                                                            Last 4 digits of account number
                                                                                                                                             $ 4,834.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1146 North Alma School Rd.                                    As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Mesa AZ               85201                                      Unliquidated
          City      State       ZIP Code                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name           Doc 14
                                                     Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                                             23-01322
                                                                      Document      Page 38 of 82
  4.52 MSS Solutions, LLC                                               Last 4 digits of account number
                                                                                                                                           $ 1,096.68
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          P.O. Box 538178                                               As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Atlanta GA             30353                                     Unliquidated
          City        State      ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes

  4.53 New Home Charleston                                              Last 4 digits of account number
                                                                                                                                           $ 1,904.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          P.O. Box 22573                                                As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Charleston SC               29413                                Unliquidated
          City                State   ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes

  4.54 Number One Textiles, LTD                                         Last 4 digits of account number
                                                                                                                                           $ 1,539.28
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          DBA Le Grande Collection/ Homesilk                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          13202 89th Ave., Suite 215                                       Unliquidated
                                                                           Disputed
          Richmond Hill NY                11418
                                                                        Type of NONPRIORITY unsecured claim:
          City                   State    ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                      Other. Specify notice only - potential liability for business
              Check if this claim relates to a community                debt
              debt
          Is the claim subject to offset?
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
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                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                           number(if known)    Main
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  4.55 ODK Capital, LLC DBA OnDeck                                     Last 4 digits of account number
                                                                                                                                          $ 190,000.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          4700 W Daybreak Pkwy. Suite 200                              As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          South Jordan UT                84009                            Unliquidated
          City                   State   ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify Notice Only- Potential liability for business
          Is the claim subject to offset?                              debt.
              No
              Yes

  4.56 P/Kauffman                                                      Last 4 digits of account number
                                                                                                                                            $ 4,557.20
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          440 York Southern Rd.                                        As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Fort Mill SC            29715                                   Unliquidated
          City         State      ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.57 P/K Lifestyles                                                  Last 4 digits of account number
                                                                                                                                             $ 513.79
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          3 Park Ave                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          New York NY               10016                                 Unliquidated
          City            State     ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




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                 Jonathan Mark Flanary
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                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                           number(if known)    Main
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                                                                     Document      Page 40 of 82
  4.58 Rays Reliable Movers                                            Last 4 digits of account number
                                                                                                                                            $ 375.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          4975 Lacross Rd.                                             As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Charleston SC                29406                              Unliquidated
          City                State    ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.59 Rioma Inc.                                                      Last 4 digits of account number
                                                                                                                                           $ 1,515.04
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          315 Old Thomasville. Rd                                      As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          High Point NC               27260                               Unliquidated
          City                State   ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.60 Rosenthal & Rosenthal, Inc                                      Last 4 digits of account number
                                                                                                                                          $ 25,991.95
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          1370 Broadway                                                As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          New York NY                 10018                               Unliquidated
          City            State       ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
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                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                           number(if known)    Main
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  4.61 Rowe Furniture                                                  Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          P.O. Box 931028                                              As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Atlanta GA             31193                                    Unliquidated
          City        State      ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.62 Sattler Corp                                                    Last 4 digits of account number
                                                                                                                                          $ 1,567.29
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          447 Main St.                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Hudson NC              28638                                    Unliquidated
          City         State     ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.63 Shelba Johnson Trucking/ Brooks Furniture                       Last 4 digits of account number
                                                                                                                                           $ 125.63
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          Xpress                                                       As of the date you file, the claim is: Check all that apply.
                                                                          Contingent
          1640 Blair St.                                                  Unliquidated
          Number
                        Street                                            Disputed
          Thomasville NC                27360
                                                                       Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                  Student loans
              Debtor 1 only                                               Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              Debtor 2 only
                                                                          Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                  debts
              At least one of the debtors and another                     Other. Specify notice only - potential liability for business
              Check if this claim relates to a community               debt
              debt
          Is the claim subject to offset?
              No
              Yes




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                 Jonathan Mark Flanary
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                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                           number(if known)    Main
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  4.64 Sherrill Furniture Co.                                          Last 4 digits of account number
                                                                                                                                          $ 20,706.65
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          2405 Highland Ave. NE                                        As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Hickory NC              28601                                   Unliquidated
          City        State       ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.65 Simply Yours Interiors                                          Last 4 digits of account number
                                                                                                                                            $ 235.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          1260 Blls Hwy                                                As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Walterboro SC               29488                               Unliquidated
          City                State   ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.66 Skeen Decorative Fabrics                                        Last 4 digits of account number
                                                                                                                                           $ 3,432.40
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          1220 W. Market Center Dr.                                    As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          High Point NC               27260                               Unliquidated
          City                State   ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                      page 26 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name       Middle Name          Doc 14
                                                Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                  09:16:30          Desc
                                                                                                       number(if known)    Main
                                                                                                                        23-01322
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  4.67 Southeastern Freight Lines, Inc                             Last 4 digits of account number
                                                                                                                                       $ 1,129.47
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          P.O. Box 100104                                          As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Columbia SC            29202                                Unliquidated
          City           State   ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                    Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                          debt
              No
              Yes

  4.68 South State Bank N.A.                                       Last 4 digits of account number 6308
                                                                                                                                      $ 12,459.78
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 01/26/2021

          P.O. Box 6335                                            As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Fargo ND            58125                                   Unliquidated
          City      State     ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Personally Guaranteed by debtor. Secured
          Is the claim subject to offset?                          by Yale GLC050 Forklift
              No
              Yes

  4.69 Spring Creative                                             Last 4 digits of account number
                                                                                                                                        $ 268.95
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          300 Chatham Ave. #100                                    As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Rock Hill SC           29730                                Unliquidated
          City          State    ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                    Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                          debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name         Middle Name          Doc 14
                                                  Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                    09:16:30          Desc
                                                                                                         number(if known)    Main
                                                                                                                          23-01322
                                                                   Document      Page 44 of 82
  4.70 Stellar Slip Covers and Soft Furnishings                      Last 4 digits of account number
                                                                                                                                        $ 1,125.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          104 S. Belair Rd., Suite 8                                 As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Augusta GA              30907                                 Unliquidated
          City         State      ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes

  4.71 Stout Textiles                                                Last 4 digits of account number
                                                                                                                                        $ 1,234.54
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          3050 Trewightown Rd.                                       As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Colmar PA              18915                                  Unliquidated
          City        State      ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes

  4.72 Summer Classics                                               Last 4 digits of account number
                                                                                                                                        $ 3,260.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          1308 Morehead St.                                          As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Charlotte NC            28208                                 Unliquidated
          City           State    ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name         Middle Name          Doc 14
                                                  Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                         number(if known)    Main
                                                                                                                          23-01322
                                                                   Document      Page 45 of 82
  4.73 Sunbelt Furniture Xpress                                      Last 4 digits of account number
                                                                                                                                         $ 216.69
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          3255 20th Ave.                                             As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Hickory NC             28602                                  Unliquidated
          City        State      ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes

  4.74 Sunfield, Inc.                                                Last 4 digits of account number
                                                                                                                                        $ 1,247.16
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          3525 Iron Horse Rd. #106                                   As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Ladson SC              29456                                  Unliquidated
          City        State      ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes

  4.75 Surya                                                         Last 4 digits of account number
                                                                                                                                        $ 1,594.95
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          1 Surya Dr.                                                As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          White GA            30184                                     Unliquidated
          City      State     ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name          Doc 14
                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
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                                                                                                           number(if known)    Main
                                                                                                                            23-01322
                                                                     Document      Page 46 of 82
  4.76 Swavelle Mill Creek                                             Last 4 digits of account number
                                                                                                                                          $ 7,484.77
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          9550 William Aiken Ave                                       As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Ladson SC               29456                                   Unliquidated
          City        State       ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.77 Telco                                                           Last 4 digits of account number
                                                                                                                                           $ 377.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          1070 St. Andrews Blvd                                        As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Charleston SC               29407                               Unliquidated
          City                State   ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.78 Tempo Fabrics                                                   Last 4 digits of account number
                                                                                                                                          $ 4,926.23
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          2130 Brevard Rd.                                             As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          High Point NC               27263                               Unliquidated
          City                State   ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name          Doc 14
                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                      09:16:30          Desc
                                                                                                           number(if known)    Main
                                                                                                                            23-01322
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  4.79 Textile Fabric Associates, LLC                                  Last 4 digits of account number
                                                                                                                                          $ 1,570.20
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          15 E 26th St. Floor 2                                        As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          New York NY                 10010                               Unliquidated
          City            State       ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.80 TForce Freight                                                  Last 4 digits of account number
                                                                                                                                           $ 947.07
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          P.O. Box 650690                                              As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Dallas TX            75265                                      Unliquidated
          City      State      ZIP Code                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.81 The Commercial Collection Corp of NY, INC                       Last 4 digits of account number
                                                                                                                                          $ 1,316.10
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          34 Seymour st.                                               As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Tonawanda NY                 14150                              Unliquidated
          City                State    ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name             Middle Name          Doc 14
                                                      Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                        09:16:30          Desc
                                                                                                             number(if known)    Main
                                                                                                                              23-01322
                                                                       Document      Page 48 of 82
  4.82 Thibaut                                                           Last 4 digits of account number
                                                                                                                                             $ 129.71
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1095 Morris Ave., Suite 450                                    As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Union NJ              07083                                       Unliquidated
          City      State       ZIP Code                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes

  4.83 TNT Sales                                                         Last 4 digits of account number
                                                                                                                                             $ 196.65
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          113 Belton Dr.                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Spartanburg SC                  29301                             Unliquidated
          City                  State     ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes

  4.84 Trevi Fabrics                                                     Last 4 digits of account number
                                                                                                                                             $ 577.75
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          2110 Dunmore Ct.                                               As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          High Point NC                 27263                               Unliquidated
          City                State     ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name           Middle Name          Doc 14
                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                      09:16:30          Desc
                                                                                                           number(if known)    Main
                                                                                                                            23-01322
                                                                     Document      Page 49 of 82
  4.85 Trivantage, LLC                                                 Last 4 digits of account number
                                                                                                                                          $ 4,253.91
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          1831 N. park Ave. Building 2                                 As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Burlington NC               27217                               Unliquidated
          City            State       ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.86 TSC Designs                                                     Last 4 digits of account number
                                                                                                                                          $ 1,675.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          1851 9th Ave. NE.                                            As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Hickory NC             28601                                    Unliquidated
          City        State      ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.87 United Fabrics Inc.                                             Last 4 digits of account number
                                                                                                                                           $ 278.75
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          9115 Pennsauken Hwy                                          As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Pennsauken NJ                 08110                             Unliquidated
          City                State     ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




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                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name            Middle Name          Doc 14
                                                     Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                       09:16:30          Desc
                                                                                                            number(if known)    Main
                                                                                                                             23-01322
                                                                      Document      Page 50 of 82
  4.88 United Supply Co.                                                Last 4 digits of account number
                                                                                                                                             $ 7,326.03
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          P.O. Box 890276                                               As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Charlotte NC                29289                                Unliquidated
          City           State        ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes

  4.89 UPS                                                              Last 4 digits of account number
                                                                                                                                              $ 101.37
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          P.O. Box 30549                                                As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Charleston SC                29417                               Unliquidated
          City                State    ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                               debt
              No
              Yes

  4.90 US Small Business Administration                                 Last 4 digits of account number
                                                                                                                                           $ 150,000.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          409 3rd Street SW                                             As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Washington DC                  20416                             Unliquidated
          City                 State     ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                       page 34 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name             Middle Name          Doc 14
                                                      Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                        09:16:30          Desc
                                                                                                             number(if known)    Main
                                                                                                                              23-01322
                                                                       Document      Page 51 of 82
  4.91 Uttermost Company                                                 Last 4 digits of account number
                                                                                                                                               $ 15.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          3325 Grassy Hill Rd.                                           As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Rocky Mount VA                   24151                            Unliquidated
          City                   State     ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes

  4.92 Valdese Weavers, LLC                                              Last 4 digits of account number
                                                                                                                                             $ 924.80
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1000 Perkins Rd. SE.                                           As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Valdese NC                  28690                                 Unliquidated
          City         State          ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes

  4.93 Vision Fabrics                                                    Last 4 digits of account number
                                                                                                                                             $ 342.30
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          305 W. High Ave.                                               As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          High Point NC                 27260                               Unliquidated
          City                State     ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                                debt
              No
              Yes




Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 35 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name         Middle Name            Doc 14
                                                    Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                      09:16:30          Desc
                                                                                                           number(if known)    Main
                                                                                                                            23-01322
                                                                     Document      Page 52 of 82
  4.94 Wallquest, Inc                                                  Last 4 digits of account number
                                                                                                                                          $ 4,886.26
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          465 Devon Park Dr.                                           As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Wayne PA               19087                                    Unliquidated
          City        State      ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.95 WOW Business                                                    Last 4 digits of account number 6809
                                                                                                                                           $ 140.86
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          P.O. Box 4350                                                As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Carol Stream IL                60197                            Unliquidated
          City                State      ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes

  4.96 York Wallcoverings Inc                                          Last 4 digits of account number
                                                                                                                                           $ 675.46
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          P.O. Box 736508                                              As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Dallas TX           75373                                       Unliquidated
          City      State     ZIP Code                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                              debt
              No
              Yes




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                     page 36 of 38
                 Jonathan Mark Flanary
 Debtor          Case    23-01322-eg
                 First Name        Middle Name           Doc 14
                                                  Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                    09:16:30          Desc
                                                                                                         number(if known)    Main
                                                                                                                          23-01322
                                                                   Document      Page 53 of 82
  4.97 York Wallcoverings, LLC                                       Last 4 digits of account number
                                                                                                                                                                      $ 675.46
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          750 Linden Ave.                                            As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          York PA              17404                                    Unliquidated
          City      State      ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify notice only - potential liability for business
          Is the claim subject to offset?                            debt
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        Intuit Payment Solutions                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2700 Coast Ave
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                     Street
        Mountain View CA               94043                                    Claims
        City                   State   ZIP Code                                 Last 4 digits of account number


        Rene Dukes Esq.                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 2.1     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Saxton & Stump
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                     Street
        151 Meeting St., Suite 400                                              Claims
                                                                                Last 4 digits of account number
        Charleston SC             29401
        City             State    ZIP Code

        Rene Dukes, Esq.                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.5     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Saxton & Stump
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                     Street
        151 Meeting Street, Suite 400                                           Claims
                                                                                Last 4 digits of account number
        Charleston SC             29401
        City             State    ZIP Code

        South Carolina Child Support Enforcement                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 2.1     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 1469
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                     Street
        Columbia SC              29202                                          Claims
        City           State     ZIP Code                                       Last 4 digits of account number


        The CIT Group/ Commercial Services                                      On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.4     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        134 Wooding Ave.
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                     Street
        Danville VA            24541                                            Claims
        City         State     ZIP Code                                         Last 4 digits of account number




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 37 of 38
               Jonathan Mark Flanary
 Debtor        Case    23-01322-eg
               First Name           Middle Name          Doc 14
                                                  Last Name         Filed 06/01/23 Entered 06/01/23 Case
                                                                                                    09:16:30          Desc
                                                                                                         number(if known)    Main
                                                                                                                          23-01322
                                                                   Document      Page 54 of 82
                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        U.S. Small Business Administration
        Creditor’s Name                                                         Line 4.90 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        SBA Disaster Loan Service Center                                                                              Part 2: Creditors with Nonpriority Unsecured
        Number
                   Street                                                       Claims
        2 North 20th Street, Suite 320
                                                                                Last 4 digits of account number
        Birmingham AL               35203
        City                State   ZIP Code

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

   Total claims        6a. Domestic support obligations                                               6a.   $ 6,622.64
   from Part 1
                       6b. Taxes and certain other debts you owe the                                  6b.   $ 51,737.96
                       government
                       6c. Claims for death or personal injury while you were                         6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that                 6d.   $ 2,349.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                            6e.
                                                                                                             $ 60,709.60



                                                                                                                Total claim

   Total claims        6f. Student loans                                                              6f.   $ 7,573.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                       6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                        6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that              6i.   $ 1,255,139.19
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                            6j.
                                                                                                             $ 1,262,712.19




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 38 of 38
              Case 23-01322-eg                        Doc 14       Filed 06/01/23 Entered 06/01/23 09:16:30                           Desc Main
                                                                  Document      Page 55 of 82
  Fill in this information to identify your case:

  Debtor 1
                     Jonathan Mark Flanary
                      First Name                                 Last Name
                                            Middle Name

  Debtor 2
  (Spouse, if filing) First Name                 Middle Name
                                                                       Last Name



  United States Bankruptcy Court for the: District of South Carolina

  Case number 23-01322                                                                                                                      Check if this is
  (if know)                                                                                                                                 an amended
                                                                                                                                            filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                           State what the contract or lease is for

 2.1                                                                                        Residential Housing Lease Current- Reject $3,108.00/ Month Lease
          Demi Tiqui                                                                        ends 06/24/2023 Lessee
          Name
          1280 Appling Dr.
          Street
          Mount Pleasant SC                29464
          City                     State   ZIP Code




Official Form 106G                                             Schedule G: Executory Contracts and Unexpired Leases                                 page 1 of 1
               Case 23-01322-eg                Doc 14       Filed 06/01/23 Entered 06/01/23 09:16:30                             Desc Main
                                                           Document      Page 56 of 82
Fill in this information to identify your case:

Debtor 1
                 Jonathan Mark Flanary
                  First Name                        Last Name
                                 Middle Name

Debtor 2
(Spouse, if filing) First Name        Middle Name
                                                         Last Name



United States Bankruptcy Court for the: District of South Carolina

Case number 23-01322                                                                                                                      Check if this is
(if know)                                                                                                                                 an amended
                                                                                                                                          filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
3.1     Allison Flanary                                                                          Schedule D, line
        Name                                                                                     Schedule E/F, line 2.7
        1609 Diddy Dr.                                                                           Schedule G, line
        Street
        Mount Pleasant                                          SC       29464
        City                                                    State    ZIP Code




Official Form 106H                                                      Schedule H: Your Codebtors                                               page 1 of 1
               Case 23-01322-eg              Doc 14         Filed 06/01/23 Entered 06/01/23 09:16:30                            Desc Main
                                                           Document      Page 57 of 82
 Fill in this information to identify your case:

                      Jonathan Mark Flanary
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of South Carolina District
                                                                                   tate)
 Case number            23-01322
                     ___________________________________________                                       Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
                                                                                                          ________________
Official Form 106I                                                                                        MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                            Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                          ✔ Employed
    information about additional         Employment status                                                            Employed
    employers.                                                            Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.                                                   Self Employed
                                         Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                          Luxury Flooring, LLC
                                         Employer’s name               __________________________________            __________________________________


                                         Employer’s address               7187 Bryhawke Circle
                                                                       _______________________________________     ________________________________________
                                                                        Number Street                               Number    Street
                                                                          Unit 200
                                                                       _______________________________________     ________________________________________

                                                                       _______________________________________     ________________________________________

                                                                          North Charleston, SC 29418
                                                                       _______________________________________     ________________________________________
                                                                        City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   2 Years                                           ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.           2.            0.00
                                                                                                 $___________          $____________

 3. Estimate and list monthly overtime pay.                                                3.   + $___________
                                                                                                          0.00      + $____________

 4. Calculate gross income. Add line 2 + line 3.                                           4.            0.00
                                                                                                 $__________           $____________




Official Form 106I                                                 Schedule I: Your Income                                                    page 1
             Case 23-01322-eg Doc 14
              Jonathan Mark Flanary
                                                                         Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
Debtor 1         _______________________________________________________                                                23-01322
                 First Name         Middle Name               Last Name
                                                                        Document      Page 58 of Case
                                                                                                  82 number (if known)_____________________________________
                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.          0.00
                                                                                                                        $___________          $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.           0.00
                                                                                                                        $____________         $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________         $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________         $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________         $_____________
     5e. Insurance                                                                                               5e.           0.00
                                                                                                                        $____________         $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________         $_____________
                                                                                                                               0.00
                                                                                                                        $____________         $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h. + $____________
                                                                                                                              0.00          + $_____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.            0.00
                                                                                                                        $____________         $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.           0.00
                                                                                                                        $____________         $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                               3,423.47
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________         $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________         $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________         $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________         $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________         $_____________

     8h. Other monthly income. Specify: _______________________________
                                         Contributions from family                                               8h. + $____________
                                                                                                                          6,000.00          + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.       9,423.47
                                                                                                                        $____________         $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           9,423.47
                                                                                                                        $___________    +     $_____________      = $_____________
                                                                                                                                                                       9,423.47

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                       9,423.47
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.           Mr. Flanary's father will supplement his son's living expenses until Luxury Flooring, LLC & Sadie's Fabric
       Yes. Explain: Empire generate enough income to support his expenses. The income listed for Luxury Flooring is based
                               upon April 2023 earnings. The debtor does not anticipate an increase or decrease in his income of 10% or
                               more at this time.
  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
            Case 23-01322-eg              Doc 14         Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
                Jonathan Mark Flanary                   Document      Page 59 of 82        23-01322
 Debtor 1                                                            _               Case number (if known)
               First Name   Middle Name     Last Name



                                               Continuation Sheet for Official Form 106I



1. Describe Employment:

Debtor: Jonathan Mark Flanary

Occupation: Owner

Name of Employer: Sadie's Fabric Empire

Employer's Address:

Length of Employment: 6 Years

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   Official Form 106I                                      Schedule I: Your Income
               Case 23-01322-eg               Doc 14          Filed 06/01/23 Entered 06/01/23 09:16:30                                        Desc Main
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  Fill in this information to identify your case:

                     Jonathan Mark Flanary
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          District of South Carolina
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________     District of __________                      expenses as of the following date:
                                                                                     (State)
                       23-01322                                                                                  ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                   each dependent..........................
                                                                                           Son                                      10            ✔ No
                                                                                                                                                  
   Do not state the dependents’                                                           _________________________                ________
   names.                                                                                                                                          Yes
                                                                                           Daughter                                 8             ✔ No
                                                                                                                                                  
                                                                                          _________________________                ________
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                       0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                     75.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
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 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                      458.43
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      120.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                       45.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      168.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                      450.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      120.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      148.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      234.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      370.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      100.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                       54.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                 510.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      100.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  Personal Property Tax
        Specify: ________________________________________________________                                        16.
                                                                                                                                       48.11
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                         0.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.               3,341.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Subscriptions
                                                                                                                                         63.76
                                                                                                                   21.   +$_____________________
Rental Property Warranty
______________________________________________________________________________________                                                   79.99
                                                                                                                         +$_____________________
Other Court Ordered Obligations (Children's Health and Extracurricular Activities)                                                      720.05
                                                                                                                         +$_____________________
______________________________________________________________________________________

22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 7,205.34
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 7,205.34
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       9,423.47
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 7,205.34
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  2,218.13
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
       Yes.
      ✔             Explain here:   Mr. Flanary is seeking modification of the temporary support orders in order for a more
                                    feasible budget. The debtor does not anticipate an increase or decrease in his expenditures of
                                    10% or more at this time.




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
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Fill in this information to identify your case:

Debtor 1           Jonathan Mark Flanary
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:District of South Carolina District of __________
                                                                               (State)
Case number         23-01322
                    ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Jonathan Mark Flanary
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              05/31/2023
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                    Declaration About an Individual Debtor’s Schedules
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 Fill in this information to identify your case:

                    Jonathan Mark Flanary
 Debtor 1
                    First Name             Middle Name          Last Name

 Debtor 2
 (Spouse, if filing)   First Name            Middle Name          Last Name



 United States Bankruptcy Court for the: District of South Carolina

 Case number        23-01322
 (if know)                                                                                                                                                          Check if this is
                                                                                                                                                                    an amended
                                                                                                                                                                    filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                         4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                                      Dates Debtor 1               Debtor 2:                                               Dates Debtor 2
                                                                       lived there                                                                          lived there

                                                                                                         Same as Debtor 1                                        Same as Debtor 1
                                                                              From 10/31/2018                                                                    From
        1609 Diddy Drive
                                                                              To 06/01/2022                                                                      To
        Number                                                                                           Number
                       Street                                                                                       Street
        Mount Pleasant SC                29464
        City                     State   ZIP Code                                                        City     State   ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                            Debtor 1                                                 Debtor 2

                                                                            Sources of income         Gross income                   Sources of income         Gross income
                                                                            Check all that apply      (before deductions and         Check all that apply      (before deductions and
                                                                                                      exclusions)                                              exclusions)

         From January 1 of current year until the date                         Wages, commissions,                                      Wages, commissions,
         you filed for bankruptcy:                                             bonuses, tips      $ 90,585.77                           bonuses, tips      $
                                                                               Operating a business                                     Operating a business




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 8
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Debtor         Jonathan Mark Flanary
              First Name      Middle Name     Last Name
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          For last calendar year:                                       Wages, commissions,                                      Wages, commissions,
                                                                        bonuses, tips      $ 976,300.35                          bonuses, tips      $
          (January 1 to December 31, 2022
                                                                        Operating a business                                     Operating a business


          For the calendar year before that:                            Wages, commissions,                                      Wages, commissions,
                                                                        bonuses, tips      $ 1,234,800.47                        bonuses, tips      $
          (January 1 to December 31, 2021
                                                                        Operating a business                                     Operating a business


5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                      Debtor 1                                                                 Debtor 2

                                      Sources of income                    Gross income from each              Sources of income                Gross income from each
                                      Describe below.                      source                              Describe below.                  source
                                                                           (before deductions and                                               (before deductions and
                                                                           exclusions)                                                          exclusions)
 From January 1 of current
 year until the date you                                                    $
 filed for bankruptcy:
                                        Rental Income Kruger                $ 7,980.00
 For last calendar year:
                                                                            $
 (January 1 to December 31,
  2022                                  Rental Income Kruger                $ 23,940.00
 For the calendar year
 before that:                           Rental Income Kruger                $ 23,940.00

 (January 1 to December 31,                                                 $
  2021


 Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                           Dates of payment              Total amount paid             Amount you still owe   Was this payment
                                                                                                                                              for…




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Debtor          Jonathan Mark Flanary
               First Name       Middle Name     Last Name
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                                                                                                                                             Mortgage
                       PHH Mortgage Services                                               $ 1,113.29                      $ 132,975.61      Car
                       Creditor’s Name                                                                                                       Credit card
                       1661 Worthington Road                                                                                                 Loan repayment
                       Number                                                                                                                Suppliers or
                                  Street
                       Suite 100                                                                                                          vendors
                                                                                                                                             Other

                       West Palm Beach FL
                       City                   State
                       33409
                       ZIP Code


7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                               Nature of the case                      Court or agency                             Status of the
                                                                                                                                                   case

    Case title:                                                Debt Collection - Judgment for                                                          Pending
    Bank of America N A vs                                     Plaintiff $85,069.50; Date filed:       Charleston County Court of Common Pleas         On appeal
    Jonathan M Flanary                                         05/08/2013                              Court Name
    Case number:                                                                                                                                       Concluded
                                                                                                       100 Broad St.
    2013CP1002714
                                                                                                       Number
                                                                                                                  Street
                                                                                                       Charleston SC          29401
                                                                                                       City          State    ZIP Code
    Case title:                                                Divorce; Date filed: 09/02/2022                                                         Pending
    Allison Flanary Vs. Jonathan                                                                       Charleston County Family Court                  On appeal
    Flanary                                                                                            Court Name
    Case number:                                                                                                                                       Concluded
                                                                                                       100 Broad St. # 143
    2022-DR-10-01918
                                                                                                       Number
                                                                                                                  Street
                                                                                                       Charleston SC          29401
                                                                                                       City          State    ZIP Code
    Case title:                                                Attached, Seized, or Levied:                                                            Pending
    Discover Bank vs. Jonathan                                 Debt Collection- Judgment for           Charleston County Court of Common Pleas         On appeal
    Flanary                                                    Plaintiff $5,546.55; Date filed:        Court Name
    Case number:                                               06/18/2012                                                                              Concluded
                                                                                                       100 Broad St.
    2012CP1003971
                                                                                                       Number
                                                                                                                  Street
                                                                                                       Charleston SC          29401
                                                                                                       City          State    ZIP Code

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.




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11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                   Description and value of any property transferred                Date payment or Amount of
                                                                                                                                    transfer was    payment
                                                                                                                                    made
                                                                  Credit Counseling: $10.00                                           05/2023        $ 10.00
          MoneySharp Credit Counseling                                                                                                               $
          Person Who Was Paid
          1916 N. Fairfield Avenue
          Number
                         Street
          Chicago IL              60647
          City          State     ZIP Code


          Email or website address
          Debtor
          Person Who Made the Payment, if Not You




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                 First Name       Middle Name      Last Name
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                                                                     Description and value of any property transferred                    Date payment or Amount of
                                                                                                                                          transfer was    payment
                                                                                                                                          made
                                                                    Filing Fee $313.00 Attorney's Fee $2,151.00 Credit Report               05/2023        $ 2,500.00
          Meredith Law Firm, LLC                                    $36.00                                                                                 $
          Person Who Was Paid
          4000 Faber Place Drive
          Number
                         Street
          Suite 120

          North Charleston SC              29405
          City                    State    ZIP Code


          Email or website address
          Debtor
          Person Who Made the Payment, if Not You


17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
                                                                  Description and value of                Describe any property or payments received        Date transfer
                                                                  property transferred                    or debts paid in exchange                         was made

                                                                  2019 Mercedes C300,                   Mr. Flanary sold this vehicle to Carvana in          09/15/2021
          Carvana                                                 $38,123.00                            September of 2021. He used the proceeds from
          Person Who Received Transfer                                                                  the sale to put a down payment on the Ford F350


          Number
                         Street
          .          .        .
          City       State    ZIP Code
          Person’s relationship to you
          Unrelated 3rd Party



19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
                                                       Last 4 digits of account              Type of account or            Date account was       Last balance before
                                                       number                                instrument                    closed, sold, moved,   closing or transfer
                                                                                                                           or transferred




Official Form 107                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5 of 8
                Case 23-01322-eg                      Doc 14          Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
Debtor           Jonathan Mark Flanary
                First Name       Middle Name   Last Name
                                                                     Document      Page 69 of 82     Case number(if known) 23-01322



         Wells Fargo Acct                                                                     Checking
         Name of Financial Institution              XXXX– 1      4    5   3                                             09/01/2022   $ 0.00
                                                                                              Savings
         P.O. Box 6995                                                                        Money market
         Number
                      Street                                                                  Brokerage
         Portland OR           97228
                                                                                              Other
         City         State    ZIP Code


         Wells Fargo Acct                                                                     Checking
         Name of Financial Institution              XXXX– 1      6    1   7                                             09/01/2022   $ 0.00
                                                                                              Savings
         P.O. Box 6995                                                                        Money market
         Number
                      Street                                                                  Brokerage
         Portland OR           97228
                                                                                              Other
         City         State    ZIP Code


         Wells Fargo Acct                                                                     Checking
         Name of Financial Institution              XXXX– 0      0    7   7                                             09/19/2022   $ 0.00
                                                                                              Savings
         P.O. Box 6995                                                                        Money market
         Number
                      Street                                                                  Brokerage
         Portland OR           97228
                                                                                              Other
         City         State    ZIP Code


         Wells Fargo Acct                                                                     Checking
         Name of Financial Institution              XXXX– 0      0    8   5                                             10/04/2022   $ 0.00
                                                                                              Savings
         P.O. Box 6995                                                                        Money market
         Number
                      Street                                                                  Brokerage
         Portland OR           97228
                                                                                              Other
         City         State    ZIP Code


21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:         Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:         Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No


Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy               page 6 of 8
                Case 23-01322-eg                          Doc 14        Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
Debtor           Jonathan Mark Flanary
                First Name       Middle Name       Last Name
                                                                       Document      Page 70 of 82     Case number(if known) 23-01322



         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:         Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                        Describe the nature of the business                           Employer Identification number
         Aiden Fabrics LLC- CLOSED                                                                                                    Do not include Social Security number or
                                                                       Fabric Sales (Mr. Flanary had a 50% ownership                  ITIN.
         Business Name
                                                                       interest in this business with his estranged wife.
         1172 SC-41 Suite 101                                          All remaining assets listed on Schedule A/B.)                  EIN: 4   6   –5   6   0   8   9   9   6
         Number
                       Street                                            Name of accountant or bookkeeper                             Dates business existed
         Mount Pleasant SC              29466
                                                                       Brian D. Kurtz
         City                   State   ZIP Code                                                                                      From 05/12/2014 To 10/26/2022

                                                                        Describe the nature of the business                           Employer Identification number
         Sadies Fabic Empire, LLC                                                                                                     Do not include Social Security number or
                                                                       Online Fabric Sales (Mr. Flanary has a 50%                     ITIN.
         Business Name
                                                                       ownership interest in this business with his
         1609 Diddy Dr.                                                estranged wife. All assets listed on Schedule                  EIN: 8   2   –1   3   9   0   8   6   0
         Number
                       Street
                                                                       A/B.)
                                                                                                                                      Dates business existed
         Mount Pleasant SC              29464                            Name of accountant or bookkeeper
         City                   State   ZIP Code                       Brian D. Kurtz                                                 From 05/02/2017 To Current



                                                                        Describe the nature of the business               Employer Identification number
         Luxury Flooring, LLC                                                                                             Do not include Social Security number or
                                                                       Flooring Sales (Mr. Flanary has a 50% ownership ITIN.
         Business Name
                                                                       interest in this business with his estranged wife.
         1609 Diddy Dr.                                                All assets listed on Schedule A/B.)                EIN: 8 6 – 1 3 3 5 1 0 4
         Number
                       Street                                            Name of accountant or bookkeeper                 Dates business existed
         Mount Pleasant SC              29464
                                                                       Brian D Kurtz
         City                   State   ZIP Code                                                                                      From         To Current

                                                                        Describe the nature of the business                           Employer Identification number
         Woven Provisions, LLC                                                                                                        Do not include Social Security number or
         Business Name
                                                                       Fabric Sales (Mr. Flanary started this business in             ITIN.
                                                                       name only. It never operated and had no assets.)
         1609 Diddy Dr.
                                                                                                                                      EIN: 8   1   –4   7   4   2   2   0   8
         Number                                                          Name of accountant or bookkeeper
                       Street                                                                                                         Dates business existed
         Mount Pleasant SC              29464                          Brian D. Kurtz
         City                   State   ZIP Code                                                                                      From 12/20/2016 To 01/05/2022


28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 7 of 8
              Case 23-01322-eg                        Doc 14        Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
Debtor         Jonathan Mark Flanary
              First Name         Middle Name   Last Name
                                                                   Document      Page 71 of 82     Case number(if known) 23-01322




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Jonathan Mark Flanary
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 05/31/2023                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8 of 8
              Case 23-01322-eg               Doc 14         Filed 06/01/23 Entered 06/01/23 09:16:30                              Desc Main
                                                           Document      Page 72 of 82
 Fill in this information to identify your case:                                                                  Check as directed in lines 17 and 21:
                                                                                                                  According to the calculations required by
 Debtor 1           Jonathan Mark Flanary
                   __________________________________________________________________                             this Statement:
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________                              1. Disposable income is not determined
                                                                                                                  ✔
 (Spouse, if filing) First Name             Middle Name               Last Name                                         under 11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the: __________
                                         District of South      of __________
                                                            Carolina
                                                       District                                                    2. Disposable income is determined
                                                                                                                        under 11 U.S.C. § 1325(b)(3).
 Case number        23-01322
                    ___________________________________________
 (If known)                                                                                                        3. The commitment period is 3 years.
                                                                                                                  ✔
                                                                                                                   4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing


Official Form 122C–1
Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                   10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :         Ca lc ula te Y our Ave ra ge M ont hly I nc ome

1. What is your marital and filing status? Check one only.
     Not married. Fill out Column A, lines 2-11.
    
    ✔ Married. Fill out both Columns A and B, lines 2-11.
     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                       Column A             Column B
                                                                                                       Debtor 1             Debtor 2 or
                                                                                                                            non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).
                                                                                                                0.00
                                                                                                       $__________                     0.00
                                                                                                                              $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                                0.00
                                                                                                       $__________                     0.00
                                                                                                                              $__________

4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                           0.00
                                                                                                       $_________                      0.00
                                                                                                                              $__________

5. Net income from operating a business, profession, or
                                                                      Debtor 1      Debtor 2
    farm
                                                                        25,546.48
                                                                        $______          0.00
                                                                                    $______
    Gross receipts (before all deductions)
    Ordinary and necessary operating expenses                          26,330.72 – $______
                                                                     – $______          0.00

                                                                                                Copy
    Net monthly income from a business, profession, or farm                 0.00         0.00 here             0.00                  0.00
                                                                        $______     $______            $_________            $__________

6. Net income from rental and other real property                     Debtor 1      Debtor 2

    Gross receipts (before all deductions)                               1,995.00
                                                                        $______          0.00
                                                                                    $______

    Ordinary and necessary operating expenses                              0.00 – $______
                                                                     – $______         0.00

                                                                                                Copy
    Net monthly income from rental or other real property                1,995.00
                                                                        $______          0.00 here
                                                                                    $______                 1,995.00
                                                                                                       $_________                     0.00
                                                                                                                             $__________



Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                              page 1
                 Case 23-01322-eg                                         Doc 14
                                                              Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
Debtor 1                Jonathan Mark Flanary               Document
                       _______________________________________________________
                                                                               Page 73 of Case
                                                                                           82 number (if known)_____________________________________
                                                                                                                23-01322
                       First Name               Middle Name                       Last Name



                                                                                                                                                                    Column A              Column B
                                                                                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                                                                                          non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                        0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $__________

8. Unemployment compensation                                                                                                                                                 0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you .....................................................................................                        0.00
                                                                                                                  $_____________
        For your spouse .....................................................................                                0.00
                                                                                                                  $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If you received any retired pay paid
     under chapter 61 of title 10, then include that pay only to the extent that it does not
     exceed the amount of retired pay to which you would otherwise be entitled if retired                                                                                                           0.00
     under any provision of title 10 other than chapter 61 of that title.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________          $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act; payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability,
     or death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                 0.00
                                                                                                                                                                                           $___________
        __________________________________________________________________
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                 0.00
                                                                                                                                                                                           $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                                        0.00
                                                                                                                                                               + $____________                      0.00
                                                                                                                                                                                          + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                                   1,995.00
                                                                                                                                                                     $____________    +             0.00
                                                                                                                                                                                           $___________        = $________
                                                                                                                                                                                                                    1,995.00
                                                                                                                                                                                                                  Total average
                                                                                                                                                                                                                  monthly income




Pa rt 2 :           De te rm ine How to M e a sure Y our De duc t ions from Inc om e

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                  1,995.00
                                                                                                                                                                                                               $_____________
13. Calculate the marital adjustment. Check one:

      You are not married. Fill in 0 below.
      You are married and your spouse is filing with you. Fill in 0 below.
     
     ✔ You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                       $___________
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                       $___________
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                     + $___________
           Total ................................................................................................................................................               0.00
                                                                                                                                                                       $___________
                                                                                                                                                                                       Copy here             ─____________
                                                                                                                                                                                                                        0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                        1,995.00
                                                                                                                                                                                                                $ __________




Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                             page 2
                 Case 23-01322-eg                                      Doc 14
                                                             Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
Debtor 1              Jonathan   Mark Flanary              Document
                      _______________________________________________________
                                                                              Page 74 of Case
                                                                                          82 number (if known)_____________________________________
                                                                                                               23-01322
                       First Name              Middle Name                     Last Name




15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here  ...........................................................................................................................................................................................
                                                                                                                                                                                                                                   1,995.00
                                                                                                                                                                                                                             $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                       x 12
     15b. The result is your current monthly income for the year for this part of the form. ....................................................................................                                                23,940.00
                                                                                                                                                                                                                             $___________



16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                SC
                                                                                                           _________

     16b. Fill in the number of people in your household.
                                                                                                                   2
                                                                                                           _________


     16c. Fill in the median family income for your state and size of household. ................................................................................................                                                 72,416.00
                                                                                                                                                                                                                              $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a. 
          ✔ Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :              Ca lc ula te Y our Com m itm e nt Pe riod Unde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ............................................................................................................................                                             1,995.00
                                                                                                                                                                                                                              $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. .............................................................................................
                                                                                                                                                                                                                            ─ $__________
                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                         1,995.00
                                                                                                                                                                                                                              $__________


20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b.. ...............................................................................................................................................................................................
                                                                                                                                                                                                                                1,995.00
                                                                                                                                                                                                                             $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                              x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                23,940.00
                                                                                                                                                                                                                             $___________


     20c. Copy the median family income for your state and size of household from line 16c.......................................................................
                                                                                                                                                                                                                                 72,416.00
                                                                                                                                                                                                                             $___________


21. How do the lines compare?


     
     ✔ Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




      Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                           page 3
            Case 23-01322-eg               Doc 14    Filed 06/01/23 Entered 06/01/23 09:16:30 Desc Main
Debtor 1     Jonathan   Mark Flanary               Document
              _______________________________________________________
                                                                      Page 75 of Case
                                                                                  82 number (if known)_____________________________________
                                                                                                       23-01322
              First Name     Middle Name        Last Name



Pa rt 4 :    Sign Be low


             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

              /s/ Jonathan Mark Flanary
                 ___________________________________________________                 ____________________________________
                Signature of Debtor 1                                                    Signature of Debtor 2


                     05/31/2023
                Date _________________                                                   Date _________________
                       MM / DD   / YYYY                                                       MM /   DD    / YYYY

             If you checked 17a, do NOT fill out or file Form 122C–2.
             If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C–1             Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                              page 4
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ABC/Amega                                              Charlotte Fabrics
500 Seneca St. Suite 503                               3101 Louisiana Ave. N
Buffalo, NY 14204                                      Minneapolis, MN 55427

Abercrombia Textiles                                   Christopher J. Neeson, Esq.
3400 US 211A                                           P.O. Box 90260
Cliffside, NC 28024                                    Indianapolis, IN 46290

Aff Group                                              Classical Elements, LLC
101 Groce Rd.                                          P.O. Box 1189
Lyman, SC 29365                                        High Point, NC 27261

Allison Flanary                                        Covington Fabrics & Design, LLC
1609 Diddy Dr.                                         P.O. Box 603467
Mount Pleasant, SC 29464                               Charlotte, NC 28260

Allison M. Flanary                                     Credit International Corporation
1609 Diddy Dr.                                         P.O. Box 1268
Mount Pleasant, SC 29464                               Bothell, WA 98041

Altus Receivables Management                           Credit International Corportation
2121 Airline Dr., Suite 520                            P.O. Box 1268
Metairie, LA 70002                                     Bothell, WA 98041

American Custom Finishing                              Crypton Inc.
2830 US Hwy 70 SE.                                     513 Crypton Dr.
Hickory, NC 28603                                      Kings Mountain, NC 28086

American Express                                       Curio Brands
PO Box 981540                                          1010 Lynn Ln. #3963
El Paso, TX 79998                                      Starkville, MS 39759

Bank of America                                        Demi Tiqui
PO Box 982238                                          1280 Appling Dr.
El Paso, TX 79998-2238                                 Mount Pleasant, SC 29464

Bella Home Furnishings                                 Department of Education/Aidvantage
115 W Willis St.                                       PO Box 9635
Prescott, AZ 86301                                     Wilkes Barre, PA 18773

Belle Maison                                           Discover Financial
89-50 127th Street                                     Attn: Bankruptcy
Richmond Hill, NY 11418                                PO Box 3025
                                                       New Albany, OH 43054
Capris Furniture
1401 NW 27th Ave.                                      Distincitive Delivery Service, LLC
Ocala, FL 34475                                        1811 Indigo Market Dr. Suite 205
                                                       Mount Pleasant, SC 29464
Charleston County Delinquent Tax
4045 Bridgeview Dr.                                    Dominion Energy
North Charleston, SC 29405                             PO Box 100255
                                                       Columbia, SC 29202
Charleston County Family Court
100 Broad Street                                       Dovetail Furniture
Suite 143                                              14000 S. Figueroa St.
Charleston, SC 29401                                   Los Angeles, CA 90061

Charleston County Treasurer                            Drapery Boutique, Inc
4045 Bridgeview Drive                                  211 Johnson St.
North Charleston, SC 29405                             Haw River, NC 27258
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Eastern Accents                                      Jaipur Living
4201 Belmont Ave.                                    1800 Cherokee Pkwy
Chicago, IL 60641                                    Acworth, GA 30102

EGS Financial Care, Inc.                             JP Morgan Chase Bank
2085 Lynnhaven Pkwy.                                 Po Box 15369
Ste 106-601                                          Wilmington, DE 19850
Virginia Beach, VA 23456
                                                     King Textiles, LLC
Elk Group International                              400 Interstate Dr.
12 Willow Ln.                                        High Point, NC 27263
Nesquehoning, PA 18240
                                                     Kravet
F. Shumacher & Co.                                   225 Central Ave. S.
979 3rd Ave. #832                                    Bethpage, NY 11714
New York, NY 10022
                                                     Lino Textil, LLC
Fabricut                                             270 W. 39th Street,
9303 East 46th St.                                   16th Floor
Tulsa, OK 74145                                      New York, NY 10018

Fibreworks                                           Lyon Collection Services Inc
2301 Brennen Business Court                          7924 West Sahara Ave.
Louisville, KY 40299                                 Las Vegas, NV 89117

Gabby Home                                           Magitex Decor
3140 Pelham Parkway                                  2791 NW 82nd Ave.
Pelham, AL 35124                                     Miami, FL 33122

Global Textile Alliance                              Magnolia Companies
2361 Holiday Loop                                    P.O. Box 67
Reidsville, NC 27320                                 Belden, MS 38826

Golding Fabrics Inc.                                 Michael Kennedy
7097 Mendenhall Rd.                                  Lincoln & Morgan
High Point, NC 27263                                 600 W. Broadway, Suite 700
                                                     San Diego, CA 92101
Gulfstream Communications
P.O. Box 1794                                        Michell Fabrics
Mount Pleasant, SC 29465                             3532 Coleman Ct., Ste C
                                                     Lafayette, IN 47905
Hamilton Fabric Sales
629 Southwest St.                                    Mitel
High Point, NC 27260                                 1146 North Alma School Rd.
                                                     Mesa, AZ 85201
IDC Trim & Upholstry Supplies
1340 S. Danzler Rd.                                  MSS Solutions, LLC
Duncan, SC 29334                                     P.O. Box 538178
                                                     Atlanta, GA 30353
Illerom Trading, Inc.
11576 Pierson Rd.                                    New Home Charleston
West Palm Beach, FL 33414                            P.O. Box 22573
                                                     Charleston, SC 29413
Internal Revenue Service
Centralized Insolvency Operations                    Number One Textiles, LTD
PO Box 7346                                          DBA Le Grande Collection/ Homesilk
Philadelphia, PA 19101-7346                          13202 89th Ave., Suite 215
                                                     Richmond Hill, NY 11418
Intuit Payment Solutions
2700 Coast Ave                                       ODK Capital, LLC DBA OnDeck
Mountain View, CA 94043                              4700 W Daybreak Pkwy. Suite 200
                                                     South Jordan, UT 84009
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P/K Lifestyles                                         Skeen Decorative Fabrics
3 Park Ave                                             1220 W. Market Center Dr.
New York, NY 10016                                     High Point, NC 27260

P/Kauffman                                             South Carolina Child Support Enforcement
440 York Southern Rd.                                  PO Box 1469
Fort Mill, SC 29715                                    Columbia, SC 29202

PHH Mortgage Services                                  South Carolina Department of Revenue
1661 Worthington Road                                  Office of the General Counsel- Bankruptc
Suite 100                                              300A Outlet Pointe Blvd
West Palm Beach, FL 33409                              Columbia, SC 29210-5666

Rays Reliable Movers                                   South State Bank N.A.
4975 Lacross Rd.                                       P.O. Box 6335
Charleston, SC 29406                                   Fargo, ND 58125

Rene Dukes Esq.                                        Southeastern Freight Lines, Inc
Saxton & Stump                                         P.O. Box 100104
151 Meeting St., Suite 400                             Columbia, SC 29202
Charleston, SC 29401
                                                       Spring Creative
Rene Dukes, Esq.                                       300 Chatham Ave. #100
Saxton & Stump                                         Rock Hill, SC 29730
151 Meeting Street, Suite 400
Charleston, SC 29401                                   Stellar Slip Covers and Soft Furnishings
                                                       104 S. Belair Rd., Suite 8
Rioma Inc.                                             Augusta, GA 30907
315 Old Thomasville. Rd
High Point, NC 27260                                   Stout Textiles
                                                       3050 Trewightown Rd.
Rosenthal & Rosenthal, Inc                             Colmar, PA 18915
1370 Broadway
New York, NY 10018                                     Summer Classics
                                                       1308 Morehead St.
Rowe Furniture                                         Charlotte, NC 28208
P.O. Box 931028
Atlanta, GA 31193                                      Sunbelt Furniture Xpress
                                                       3255 20th Ave.
Sattler Corp                                           Hickory, NC 28602
447 Main St.
Hudson, NC 28638                                       Sunfield, Inc.
                                                       3525 Iron Horse Rd. #106
SC Department of Revenue                               Ladson, SC 29456
Office of the General Counsel Bankruptcy
300A Outlet Pointe Blvd                                Surya
Columbia, SC 29210-5666                                1 Surya Dr.
                                                       White, GA 30184
Shelba Johnson Trucking/ Brooks Furniture Xpr
1640 Blair St.                                         Susan B. Shaw, Esq.
Thomasville, NC 27360                                  945 Paces Ferry Rd., Suite 2750
                                                       Atlanta, GA 30326
Sherrill Furniture Co.
2405 Highland Ave. NE                                  Swavelle Mill Creek
Hickory, NC 28601                                      9550 William Aiken Ave
                                                       Ladson, SC 29456
Simply Yours Interiors
1260 Blls Hwy                                          Telco
Walterboro, SC 29488                                   1070 St. Andrews Blvd
                                                       Charleston, SC 29407
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Tempo Fabrics                                           Uttermost Company
2130 Brevard Rd.                                        3325 Grassy Hill Rd.
High Point, NC 27263                                    Rocky Mount, VA 24151

Textile Fabric Associates, LLC                          Valdese Weavers, LLC
15 E 26th St. Floor 2                                   1000 Perkins Rd. SE.
New York, NY 10010                                      Valdese, NC 28690

TForce Freight                                          Vision Fabrics
P.O. Box 650690                                         305 W. High Ave.
Dallas, TX 75265                                        High Point, NC 27260

The Commercial Collection Corp of NY, INC               Wallquest, Inc
34 Seymour st.                                          465 Devon Park Dr.
Tonawanda, NY 14150                                     Wayne, PA 19087

Thibaut                                                 WOW Business
1095 Morris Ave., Suite 450                             P.O. Box 4350
Union, NJ 07083                                         Carol Stream, IL 60197

TNT Sales                                               York Wallcoverings Inc
113 Belton Dr.                                          P.O. Box 736508
Spartanburg, SC 29301                                   Dallas, TX 75373

Trace M. Dillon Esq.                                    York Wallcoverings, LLC
The Dillon Law Firm P.C.                                750 Linden Ave.
P.O. Box 1850                                           York, PA 17404
Tallevast, FL 34270

Trevi Fabrics
2110 Dunmore Ct.
High Point, NC 27263

Trivantage, LLC
1831 N. park Ave. Building 2
Burlington, NC 27217

TSC Designs
1851 9th Ave. NE.
Hickory, NC 28601

U.S. Small Business Administration
SBA Disaster Loan Service Center
2 North 20th Street, Suite 320
Birmingham, AL 35203

United Fabrics Inc.
9115 Pennsauken Hwy
Pennsauken, NJ 08110

United Supply Co.
P.O. Box 890276
Charlotte, NC 29289

UPS
P.O. Box 30549
Charleston, SC 29417

US Small Business Administration
409 3rd Street SW
Washington, DC 20416
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                             United States Bankruptcy Court
                               District of South Carolina




         Jonathan Mark Flanary
In re:                                                         Case No. 23-01322

                                                               Chapter    13
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              05/31/2023                          /s/ Jonathan Mark Flanary
Date:
                                                  Signature of Debtor



                                                  Signature of Joint Debtor
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Luxury Flooring, LLC
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                                              United States Bankruptcy Court
                                                South Carolina
 In re: Jonathan Flanary
                                                                           Case No. 23-01322
                                                                           Chapter   13
       Debtor(s)




                                      BUSINESS INCOME AND EXPENSES

                       Gross Monthly Income                           19,738.91
                                                                     $__________
                       Business Expenses
                               Cost of goods sold                       13,338.48
                                                                        __________
                               Advertising                              454.09
                                                                        __________
                               Car and truck expenses                   0.00
                                                                        __________
                               Fees                                     118.65
                                                                        __________
                               Depreciation                             __________
                               Employee benefits                        __________
                               Insurance                                0.00
                                                                        __________
                               Interest                                 __________
                               Legal and professional                   0.00
                                                                        __________
                               Office expense                           5.30
                                                                        __________
                               Pension and profit sharing               __________
                               Rent                                     1,718.04
                                                                        __________
                               Other leases                             __________
                               Repairs                                  10.21
                                                                        __________
                               Maintenance                              __________
                               Supplies                                 0.00
                                                                        __________
                               Taxes and licenses                       __________
                               Travel, meals, etc                       115.01
                                                                        __________
                               Utilities                                48.87
                                                                        __________
                               Other ___________________
                                     Subcontractor                      0.00
                                                                        __________
                               ________________________
                               South State Loan                         236.83
                                                                        1,846.72
                               ________________________
                               Allision Flanary's share


                       Total Expenses                                 17,892.20
                                                                     $__________

                       Net Monthly Income                             1,846.71
                                                                     $__________
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Sadie's Fabric Empire, LLC


                                              United States Bankruptcy Court
                                                South Carolina
    In re: Jonathan Flanary
                                                                           Case No. 23-01322
                                                                           Chapter   13
          Debtor(s)




                                      BUSINESS INCOME AND EXPENSES

                       Gross Monthly Income                           6,272.95
                                                                     $__________
                       Business Expenses
                               Cost of goods sold                       1,293.30
                                                                        __________
                               Advertising                              __________
                               Car and truck expenses                   __________
                               Fees                                     __________
                               Depreciation                             __________
                               Employee benefits                        __________
                               Insurance                                __________
                               Interest                                 __________
                               Legal and professional                   __________
                               Office expense                           __________
                               Pension and profit sharing               __________
                               Rent                                     __________
                               Other leases                             __________
                               Repairs                                  __________
                               Maintenance                              __________
                               Supplies                                 __________
                               Taxes and licenses                       __________
                               Travel, meals, etc                       __________
                               Utilities                                __________
                               Other ___________________
                                     Commission Paid                    1,411.36
                                                                        __________
                               ________________________
                               eBay Fees                                2,158.35
                                                                        704.97
                               ________________________
                               Allision Flanary's share


                       Total Expenses                                 5,567.98
                                                                     $__________

                       Net Monthly Income                             704.97
                                                                     $__________
